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FOCUS          14     Results            yale     and dongguk             and        shin                                                                                       Page     of2




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              Biennale Curators                                      Revealed                                                                      14 2007
                                                     Degree                                   Forgery Chosun                   Ilbo July                          Saturday


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                                                                                     Chosun          Ilbo



                                                                         July       14      2007         Saturday


   LENGTH             193     words


   HEADLINE                 Biennale Curators                        Degree         Revealed                  Forgery


   BODY


        document           that     was used              to    show     that          Dongguk                 University            art professor            had         doctoral

   degree      from        Vale         has turned out to be                          forgery


   Assistant        Professor             Shin eong-ah                  had         used      the    fax which appeared   to have                              been       sent from
   Vale University                to     Dongguk               University            to confirm         that she graduated with                                 doctoral        degree
   in   art


   However            in   response             to   an    e-mail       inquiry          by the Chosun                  Ilbo Gila Reinstein   at Yale

   Universitys             Office       of     Public     Affairs       said        The document                      has   different form from that  of

   Vale     Universitys                official      certificate          The       document              is          fake

   She said     couldnt contact Pamela Sthirmeister associate dean                                                                            of   Vale     Graduate        School
   whose signature   was on the faxed document However her assistant                                                                           said      Prof Schirmeister
   had    never       signed her name                      to   such          document

   Shin     was appointed                    professor          at    Dongguk               University            and      the     art director           of the Gwangju

   Biennale partly on                   the strength             of     the    fax       It   now appears                  the   document                may have been
   forged      in   Korea


   Shin was           contacted              earlier      in    Paris     France              but   it   is    unclear         where       she      is   now      The     biennale

   foundation          has     withdrawn                her     appointment


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   NOTES
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                                        KBS World News SoUth Korea

 July    14 2007


 Dongguk Univ                                 to Fire             Prof Who Forged Her Degrees

      Dongguk          University spokesperson                    says the school has asked                    its    foundation       to   dismiss

faculty        niember who             forged her university              degiees


The     official      said     that the university            president       forwarded           the   request        to the   foundation
which     has the sole right to                fire    professors        He   added        that    an emergency              meeting of the
board     is   to    be convened          next Friday             with     final verdict          to    come          week    latef   at


disciplinary          committee          meeting


Originally Dongguk                     planned       to   investigate      how      it   failed    to   check        Professor    Shin Jeong

ahs academic             records        before asking for her dismissal but changed                                   course after

confirming that              her   undergraduate              graduate      and     doctoral        degrees       were fake


The univesity             however             said    the   35-year-old       art   professor           would be given                chance    to

defend     herself       against       the    charges        to   ensure due process



Shin who had been                  hailed      as the       Cinderella of the local               art   world was         also   newly

appointed           as co-art      director     of next years            Gwangju         Biennale         contemporary           art    festival

She     was    fired    frQm       her Biennalepost               on   Thursday


Dongguk         officials       said    Shin never           enrolled in          doctoral        program        at    Yale University          and

dmpped         out of the University                 of Kansas without              graduating


Local experts           said    that    the    case highlights           the difficulty           South    Korean schools have                 in

veriing         foreign        degrees




                                                                                                                                                      YALE000001S6
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 DONGGUK0000974


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              Yonhap News                                                                                                                                            Print        Close




Academic                 record        falsification Will                  it   be investigated              by Dongguks                         own efforts

Factual relation must be thoroughly                                       disclosed..                Investigation                 agency             prepare     against


complaint and accusations

              Seoul              Yonhap            News           Reported by            Hwa         Sop Im and Eun Jin Im                                   While      Dongguk

University          is    conducting                    fact-finding investigation                      in relation            to    the case           of academic          record


falsification            of   assistant          professor             Jeong    Ah     Shin        35    female               it    is    unknown whether                 the truth


may         be clearly examined

              Taking into account                        that    all    types    of doubts have been presented                                        starting    with the hiring

process       of Shin            it   has    been strongly voiced                      that    an investigation                    agency             should step forward                   to


thoroughly disclose the related                                 facts    without        leaving         any traces             of suspicion

              Dongguk              University            has     organized           the fact-finding investigation                                   committee         consisting               of

  members            including              vice        president of academic                      affairs    3m         Soo Han and academic                           affairs



support       director           Sang       Ii   Lee      and has been conducting                        an       investigation                  of the academic             record


falsification        of Shin and the special hiring process

              The    school           offers       an explanation               that    an     in-house           investigation                  is   carried     out    first    to    take


appropriate         personnel               actions        before          complaint or an inquiry                            for    investigation               will   be made             if


required

              Dongguk            University              has       policy       in   place      to    report           its   primary investigation                      results        in   the

school       corporation              temporary board of directors meeting                                        to    be held on the                  2O    day and            to    decide


on    its   personnel            action      in    the disciplinary committee                           scheduled             on         27th     day

              However              many          feel    skeptical         about       whether the investigation                                committee         can cany out

the investigation                properly

              They       question           whether         it    will   be possible            to   investigate              the current and past high-ranking


individuals         related to              the foundation               and school            which         is    required              to   identify       facts


              Then-chairman                  of the board of directors                        in    2005 when                Shin was                hired   by   special


appointment              still   holds        an    office as            director         and the then-president                              still   remains as            professor

emeritus

              Further         in      the process          of dismissing               the foundation                   director          who exposed              the academic


record       falsification            and the issue of plagiarized                            articles    by Shin                  the current           chairman of the

board of directors                    the president               and the chairman of the faculty                                  disciplinary committee                        voted


yes    in   person        and one of the investigation                               committee members                             Sang         Il   Lee who was            the


academic        affairs          support          director         reported          in the board of directors                            meeting         that    Shins academic

degree had already                    been verified without                      any problems
        Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 7 of 147
         It   is   as    if   those     who       should       have been the             targets      of investigation              led the investigation       and

took the position              of disciplinary committee                          chairman          which    is   an irony

         It   has       also been pointed                 out that      there are questions                regarding          the   way Dongguk

University         seems       to    hold    on    to    the personnel              decision        made     for Shin

         While          it    appears       to   be urgent       to    relieve        Shin of her position                  first   and conduct       thorough

investigation        on not only Shin but also other involved                                       individuals             not doing     so   may make   one

doubt whether            it   is    intended       to    cut the      tail   off with         Shin

         While          the current situation                 makes          it   difficult    to   reveal    the truth         without        any involvement

by an   investigation               agency        it    has   been voiced               great deal that           it   is   difficult   to   understand   why

Dongguk       University             has    not    taken      more       aggressive           actions      such as            complaint or request        for


investigation
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Accurate        Press and Fast              News          Internet       Yonhap News                                                                            Page         2/2




            In particular              under the circumstance                        that   Jeong      Ah      Shin who                was known                to    have

returned       home        temporarily            revealed         to   her acquaintance                    that        she    would plan              to    leave     for    the    US

again     it   has    also      been pointed             out that       it is   urgent       to    impose               ban     to   keep her from leaving                          the


country and an investigation                        of     this   is    inevitable


            Such          an   attitude     taken    by Dongguk                 University            is    quite different             compared                to    the actions


taken    by    Seoul           National     University            during        the    Woo         Seok      Hwang              incident


            At the time             Seoul     National         University              put   its   investigation                committee                   consisting         of

outside     personnel             in     action   and also entirely closed                        down       the laboratory                  and also secured

accounting           data proving fraud and embezzlement                                     and handed                 them over            to    the prosecution


whereas        the prosecution              adjusted        its   speed of investigation                      until           the academic                  decision         on

verification          of the forged           article      by the university                 authority         became                available           but    quickly            took

necessary         actions        including        the ban on leaving                    the country

            The      prosecution            and police seemed                   to    notice       such situations and                   it       is   known         that    they

have taken        actions          for    preparation         including              collection            of related data

                person          concerned         with     the investigation                 agency          said on the              16th    day           Falsification            of

her academic              degree       by Shin      is    an issue       that        would not stop                at    the personnel                 action        taken    by     the


University but             may be          applicable        to   such criminal                acts    as    private           document                forgery        or

interference         with        ones     duties     As        complaint accusation                           or investigation                    inquiry        is    highly


likely to      occur       we      are    making preparations



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END

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                                   CERTIFICATE OF TRANSLATION




              Kwang         Park     hereby       certify that        am competent in both the             Korean and

English       languages        and    that        translated        DONGGUK0000974-75 from                 the Korean

language          into the English        language
             further       certify that      translation       of   DONGGUK0000974-75                from the Korean

language          into   the   English        language         is   accurate    and   correct   to   the   best   of   my
knowledge and proficiency




Kwang        Park
Professional         Translator




Subscribed    and   sworn to before    me    on                      day ofQT                    year
                                                  ____________




___________
Signature    of   Notary                                                        Notary Stamp
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     THE DONG-A ILBO                                                                                                                                                             DATA   SEARCH    IJan        jjJoij



                                                                                                                                                                                                       Editorial


          DOS         WORLD             Archives                                                                                                                                                 Self-Absorbed               Carma
                                                                                                                                                                                                 As    part   of   efforts    to    heli

                                                                                                                                                                                                 domestic..


                                        Yale        University           Wont            Probe Source of Shins False                                          Certificate
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       IT                                                                                                                                                                                              Diplomatic            news
                                        The      investigation           on the doctorate                  forgery             case     of   Dongguk             University
                                                                                                                                                                                                 Warming Up               for   the
        National                                                                                                     is                            take                   than
                                        assistant           professor         Shin Jeong-ah                35             expected           to               longer
                                                                                                                                                                                                 International               Marath
        Politics                        expected because                  Yale        University       has       decided              not to investigate                 how                                                  legs
                                                                                                                                                                                                       strengthen       my
                                                                                                                                                                                                 the    hills The..
                                        false       certificate      of the                             faxed             to                                         in
        International                                                                degree was                                 Dongguk            University

                                        September             2005 when               Shin gained          employment                    at the        university
        Sports

         Editorial
                                                             Shins testimony                  remains the only source of answers                                          Shin    is
                                        Therefore
        Op-ed                                                            in   an overseas            country              now                                                                                                Intake
                                        currently           staying
                                                                                                                                                                                                                             Recomr
         Life

                                        Gila                                                 of Yale University                   and vice-director                 of    its
         Entertainment                           Rinsten            spokesman
                                                     information                                    said   in    an interview                with        Dong-a        Ilbo     last
                                        public                            department                                                                                                                                         Nice     Cc

                                        Saturday that                    have         not    received       any           orders        from the schools                                                                     Black

                     Weather
                                        headquarters               for        supplementary                investigation                 into     this    case
                                                                                                                                                                                                                              Edinbui

                                                               revealed             that     Sihn           not                Yale student                                                                                  Festival
                     Time               We       already                                             was                                               through             precise
                                                                                                                                                                                                                             Combir
                                                                   This       is   the   biggest      outcome                  of our     investigation                said the
                                         investigation                                                                                                                                                                       Traditic

                                                               Regarding the                 false    certificate               the     spokesman               said that
                                        spokesman                                                                                                                                                                            ConterT

                                        think                                                to   make                          believe         that     it   Was   faxed
                                                                                                                                                                                                                                            Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 13 of 147




                                                    there are        many ways                              people
         Link
                                        from Yale University adding                                 Even        if   it   was      faxed          from Yale University                                                        Events



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     donga.com            donga                                                                                                                                       Page   of




                                        it   is           true that      the    document               was                     that    were    not   issued
                                                  very                                                         forgery                                          by
                                        Yale       University
        Cartoon


        Hate   Practice                 Meanwhile             Dongguk           University            which said that Yale University
                                        informed          us that they          will                          the                  case   in
                                                                                          investigate                forgery                      press
                                        conference            held   on July          11        stated    yesterday         that      Even     though     we
                                        dont         know                                                     is    in                 this
                                                              exactly which department                                   charge of             investigation

                                        we        dont    have       choice        but      to wait the        answer          from the       university


                                        Regarding recent                 reports on Shins secret                         return    to Korea      Lee Sang-il

                                        chief of the           headquarters               for    supporting         school        affairs said    that    Even
                                        though           we   have   tried      to Contact            Shin since          we   heard    of her return         we
                                         havent          heard   from her          yet


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                                         contact     newsroom@donga.com         for      more   information
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                                                                                                     Story                                                            Page




    The                 Rise and                                Fall             of                 Korean Success

    Story

                                                                                                                               Tagit




         UN NEUMANN

    17   July   2007


    An academic                    scandal          in    Seouls           art   world     brings              high-flying         young woman down                   to


    earth




    Curator            of         major          Seoul         museum professor                     at    an    elite    university        and     co-director        of   the

    Gwangju                 Biennale             the     countrys             premier      art      event        at     35   Shin Jeong-ah            had     risen


    quickly            to   the        top of South              Koreas          fine    art   scene


    Too         quickly           it   turns out              Shortly       after       being named              to     the biennale         post on July              what

    had seemed only                         to     be jealous whispering                       in   the bitchy           corridors     of the art world           and

    academe                 turned          out to       be     true       Shin was              fraud


    The         two degrees                 that she            claimed          from    Kansas           University         and       2005 Yale        University

    doctorate               did    not exist Her                 Yale dissertation                  titled       Guilaume Apo/ilnaire                  Catalyst       for


    primitivism for Pica/Ia                              and Duchamp                    turned       out to have             been submitted            to   the

    University              of Virginia             in    1981     by another             woman

    Shin who was                       in   Paris        at    the time the scandal broke                           last     week     denied the charges

    then        returned               home        briefly       over the         weekend went                    into     hiding    and     left   the country            for


    New York on Monday                                        local television           network           reported          she    told   friends     she was        going

    to   Yale University                     to                            her    own      academic             records
                                                   investigate


    When          she presented                     her credentials                to   Dongguk            University         last   year unfortunately
    their       background                  investigation               did      not go very far The                    university         never    received           reply

    from        Kansas            University             to      request          to    verify      records           and they accepted                 fax


    supposedly                from          Yale as enough                  evidence           to   prove       that       Shin held         doctorate            former

    member              of the schools                    board       of    trustees        has      come        forward       to    say he raised          questions

    at   the time about                     her credentials                   but was          dismissed from                the    board     for his efforts


    because he was disgracing the school with ugroundless suspicion


    Now         the disgrace                is    deeper than the                  university            could have           imagined        Yale sent           reply


   saying that the university                                  hadnt granted               her           doctoral        degree      and     that    there was         no




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                                                                                                                                                                  DONGGUK0000995
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 Asia Sentinel           The    Rise    and        Fall   of     Korean        Success Story                                                                                    of
                                                                                                                                                                    Page




    record     of         student        named            Shin       Jeong-ah                     Dongguk            University        spokesman             said     last


    week      Yale also          said     the       fax that         supposedly               confirmed              Shins     credentials           was          fake


    Kansas        University           said    that       Shin attended                classes           there from           1992       to    1996 but she

    never     graduated             according              to        Kansas       newspaper                    quoting       Todd      Cohen         University

    Relations        director


    In      country        where         scandals           involving         tycoons              and     politidans          are almost daily              news

    fodder the            demise of Shin                        beautiful      and seemingly                        talented product               of Koreas

    vaunted        meritocracy                has     captured          the      public           imagination               Naver      the countrys              most

    popular        Internet       search engine                      reported       that          her     name was            its   No         search topic           over

    the    weekend             Television crews                  and newspapers                         have    been        breathlessly           seeking        out any

    scrap of information                  available             on the scam              artist



    Korean        commentators have                        begun                       her          female             Hwang Woo-suk                   in   reference
                                                                       calling

    to the scientist             whose faked                research on the cloning                            of    human stem               cells led     to      round

    of national          shame and breast-beating when                                      it    was uncovered                last    year        Our      society

    needs     to    take         good look            at    itself     and     think          about        whether she wasnt                       encouraged            to


    gamble        with falsifying her credentials                           because                of    our societys excessive worship                           of

    academic         degrees             read an           editorial in          the Hankyoreh                      newspaper

    Soon     the search           may         be    joined by prosecutors                           Officials          of the Gwangju               Biennale        after


    confirming with Yale that                        her degree           was fraudulent                        cancelled           her appointment               and

    have asked            the Seoul           prosecutors             office      to    investigate                 her on possible            criminal          charges

    The     university          may     also       press charges               She          faces        dismissal          from      her university             post

    Her mother             Lee    Won-ok              has       stepped        up      to    claim that her daughter                          is   the real deal

    Why      is   the     media burying                     person       who        has done nothing                        wrong         Lee       asked

    according        to    the magazine               Monthly           Joongang                        believe        in   my daughter              not because

    we     are family but because                     what she says                 is      all    true

    It   seems that              lot   of people believed                   in    Shin as she                  rose through            the clubby           ranks of

    Seouls        fine    art   dealers        and patrons                In 1997                 one year          after    quitting         Kansas University

    she    charmed          her    way        into         job at the          Kumho Museum                          in   Seoul the JoongAng                     Daily


    newspaper            reported         Claiming              to   have the two degrees                            from    Kansas           she    parlayed             job

    as      part-time           English-language                     museum         guide into repladng                             bickering        curator        From

    there she            used    brazen            self-promotion                and        outright           theft      of other peoples             ideas        to


    fuel   her rise the newspaper                          said citing           her colleagues                     and friends          She        had          way     of


    handling       people        and     getting           their      attention the newspaper                                said      quoting            Seoul     art


    curator




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    By 2002 Shin had moved                                          on     to    the Sungkok            Museum           one of Seouls                best known

    museums                    as     its    chief        curator               There she mounted                  several           major    exhibitions              including

   40th       anniversary                      exhibition              of the English                               John
                                                                                                   illustrator                  Burningham             last    year and
   show        that           is    still
                                             up by American                          photographer          William         Wegman             The      museum               told       the

   JoongAng                                 that     it   didnt                        her academic
                              Daily                                        verify                               background

   The     appointment                         to    the Dongguk                      University        faculty     last   year and           the     post with the

   Gwangju                   Biennale           put her at the very pinnacle                               of     her profession She rose too high                                   too


   fast       it
                    seems              to      avoid           scrutiny


   Shin        for       the        moment                at    least           has    disappeared           If   she were            to    return    from        her       visit      to

   New York                   she       would face the                          relentless      pursuit      of the media               and    possible        jail     time as

   result          of    her fraud Her loyal mother insists                                             however       that her only daughter                           is    coming

   home             She was quoted                             in   the      Monthly          Joongang          saying     that        she    had spoken               to    her

   while she                 was       still    in     Paris          last      week and         been     assured that everything                       will      be    fine        You
   know        me mom                           will      go        back        to    Korea    soon      and take care of it


        tantalizing                 explanation                  for     Shins         desperate         and      ultimately          perilous       scramble               to   the top

   may     lie          in    Koreas worst                      peacetime              disaster In         1995       when            Shin was just            23      she        was

   buried           in       the collapse                 of the Sampoong                      Department           Store        in    Seoul Trapped                   in   the

   rubble for 24 hours                               she        was one of the                 lucky     survivors         of         disaster       that    killed         501

   people


   Telling          her story later to the                               monthly           Chosun Magazine                 Shin said           the disaster

   completely                  changed               her        life     Once         shy and unassertive                  she        told   the magazine                   she

   vowed           to        change

        beach towel wrapped                                     itself       around        my    face     and saved             it   from     harm          she     told         the

   magazine                   Because my                       face was               OK       have     my      second      life      and     Im very        lucky

   Everything                  is   very easy              for         me        Before the disaster                was              very introverted             character

   Now             am        aggressive                   After        surviving           Sampoong               developed                 very     powerful          driving

   force      and sense                     of initiative


   It   was        later       established                     that      the Sampoong                 collapse      was caused               by faulty         supporting

   columns and                         poor structural                          framework added              to    the fact          that    the impressive-looking

   new     store             was       built        by crooked                   businessmen            on an unstable                 landfill       Like     Shins

   academic                  career            the     building             ultimately         rested      on shaky          ground



   Comments




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 Asia Sentinel         The     Rise     and      Fall       of     Korean           Success Story                                                                                           of
                                                                                                                                                                               Page




             dont       think         so          Zeng

        To the         earlier      comment                   Korean         are     NOT hung up on someones                                     educational

        pedigree            more than any other                          parts       of    the world             albeit      that     there are more

        learned         people and therefore the qualification/competition                                                          levels       are higher                  than
       other       parts       of the world As you can                               see this naive                girl      was NOT able                   to    get away
        with her bogus                 lies       it    all
                                                                 caught       up with her              It    in    itself     is    just         plain incident                of

        FRAUD           which         again       every society                  has       And obviously                    her lack of education
        manifested             itself      enough                                                                                   Only reason                       took so
                                                              to   raise suspicion                among            people                                        it



        long      to   be    discovered                it   because          she      manipulated                     top government                     official        to

        support         her endeavors                            sugar daddy was covering her ass Thats the                                                           real

        issue      here Government                           official     using tax payers money for flaunder his mistress

        Every      society          has     these Issues                  not just Korea                    it   is   beyond          control          in   China            right

        now       every government                          official      has         wife and               girlfriend             you know             why            these

        girls    would chase                after
                                                        any        man who            has wealth                 and the problem                    is   that

        government              officials         yield          their   powers            to    accumulate                 personal wealth                      they are
        rich      On         different           note look              at   Bill    Clinton        how          easily      he used            his    powers            trying

        to   cover      up     his    illicit     affairs          with the intern

       December27              2007




        With      daily      chatter        and sound                  bytes coming               from           Korean       media             this story             has

        developed            into          tragic           comedy or comic tragedy                              involving          ever increasing
        number          of players              Shin seems to be both heroin                                     and      villian     of    the story                 and
        lately         victim         The       way         this   scandal           is    panning          out        this story          is   becoming                more
        about      how       Korean             society          works       than         one persons                 lie    Why      is   Korean           art        world

      so     hung up on someones                                 educational              pedigree           And        is   this kind           of favoritism

        only limited           to    art    world Shin seems                          to    be      clever            heroin since               she     used          people
        of   influencewho                  doesnt know                   jack       about        art   who            blindly       trusted        her degree                  to

        her advantage                 She        is         villian      because           she    based           her career           on       lies   and        took

        opportunities away                      from          hard-working                 authentic-degree-holding                              curators               In    my
        opinion        If   she  was good at her job she deserves  nothing worse than    slap on

        her wrist           and should be allowed to continue with whats left of her career The

        university          that      hired       her and the those                        who    hired          her as the curator for Biennale

        are also        equally responsible                        for getting             fooled      They should get                      their priority

        straight       before         they       chastitise             Shin        Insistence         on inditement                   of       Shin mounts

        nothing        more than                certain          individuals              misguided              attempts           to save        face          Either

        Shin goes without                   or without                substantial               punishment                this story            reflects         distorted

        society        which        may       value          the empty prestige                    more than the                     real       merit

        September       24     2007



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                                 009



Dongguk            University         didnt           really    check         Kansas           State academic               record

     Uproar over           Ms      Shin Jeong-Ahs fraudulent                                academic           record

             When         hiring    Dongguk                 University         General          Education           Institute    assistant       professor      Jeong

Ah     Shin    35        female who                   has    been found            to   have     forged        her doctorate           Dongguk       University           did


not    it   turns out request               verification of her academic                               history from the pertinent                 colleges      or check


whether the request had been received

                   Professor        Ahn who                 was head of            the academic              personnel        team     at   Dongguk       University

at   the time       of Professor            Shins hiring               stated       on the 17th             that    on     September             2005       personally

sent        request       for   verification                of her academic              record        to   Yale University            by     registered    mail but

did not      send          request          to        Kansas State

             Professor          Shin stated on her employment                                  application          that    she had received         her bachelors


and masters              degrees      from Kansas                State and her doctorate                       from Yale

             Regarding          the reason              for    not    sending           the request          for academic            record    verification     to


Kansas       State        Professor         Ahn         sad    that          sent the official              request        only to Yale University


eonsidering             the final     degree           to   be most important                     adding there were                  no particular orders            from

above and               thought      that        it   would be        OK      to    send the           official     request     to    Kansas     State later if      it



became necessary

             However            before      this        Dongguks              academic           support           office head        Sang-Il    Lee had stated

that   we     requested           degree verification from both Yale University                                             and Kansas          State University           at


the time      of hiring         but         response           came      only           from   Yale

             In addition           because             only the       registration          number and               receiving        country     USA are
written      on the receipt for the registered                           letter         sent to    Yale by Dongguk                    and there     is   no recipient

address       it   is   unclear     whether Yale University                              received           the request


             Dongguk University                         without       having            confirmed           the receipt      of the request        by Yale        hired


Professor       Shin        trusting in only                   fax that        appeared           to    have been sent from Yale but                     this   fax has


been confirmed              also to      have been forged




Then    HR Team             Leader Sent Inquiry                        Only        to    Yale

Differs with Universitys Claim                                Sent      to    Both Universities

Yale Postal          Receipt        Lists        No     Recipient        Address




               person associated                      with Dongguk University requesting                                    anonymity           said that    at   the


time of her hiring              issues       were raised with the upper-level                                  administration           of the school        on the
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basis that        the    human          resources       team had not received                  basic       documents            such as      transcripts        from

Professor         Shinbut           the only      answer        was wait and                 see
             This      person claimed            that    the     participation              of people such           as    Mr     Lee who need             to   be

investigated            themselves          in   the investigative            committee              is   problematic            and         am   concerned           that


the investigative                committee       will    only        concern      itself     with     the procedures             at    the time    and put        all



the responsibility on the                   employees

             Professor            Shin     who had       left   Korea        in   secret     on the morning               of the       l6 arrived       at      JFK

Airport      in   New York USA                   around 145             AM        Korea time on                the   l7
            Professor             Shin     dressed      in blue jeans         and           gray     T-shirt    left      the   arrivals      area with          white


athletic     cap pressed low over her face and head                                    bowed
            Tens of reporters rnshed the                        arrivals      area and asked several                   questions but Professor                   Shin

said not          word

            When         the reporters           who had         followed         her to the taxi stand                asked          for    comment

Professor         Shin said              have nothing           whatsoever             to
                                                                                            say to    the certain          members of the              press that

has   reduced          me    to     high     school      graduate       based upon dissertation                      plagiarism              leaving   the


impression          that     she    was    admitting       to    plagiarizing her dissertation                       No     one met Professor                Shin     in


the crowd         at    the airport




                                                     Jeong-Ah          Shin Arrives in               New      York



           Jeong-Ah              Shin    assistant      professor       at    the      Dongguk            University       General Education               Institute

who   left   Korea          in    secret   and arrived          at   Kennedy           Airport in          New York         on the          it Korea time
brnshes      off the questions              of waiting          reporters         as   she    leaves the airport                New     York       Yonhap

News



Reporter      Sang-Jun             Han alwaysdonga.com
New    York             Correspondent Jong-Sik                       Kong kongdonga.com
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       Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 24 of 147




                                 CERTIFICATE OF TRANSLATION




               Samuel Henderson                 hereby    certit    that      am   competent          in    both the
  Korean       and    English          languages    and    that         translated    DONGGUK0001009
  from the Korean language                 into the English        language
               further      certify      that    translation       of   DONGGIJK0001009                    from   the

  Korean language            into the English       language       is   accurate   and      correct    to the best

  of   my knowledge         and    proficiency




zSamnel %ndelon
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  Subscribed   and sworn   to before   me on                 day                     11-O     year




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         EXHIBIT                             155
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DONGGUK0001O1O

                        Fake Doctor            Ms     Jeong-Ah            Shins Manhattan                       Whereabouts                  Unknown


                                                      Escaping            the storm for                   month


      only plagiarized        the   dissertation          ..           have nothing           to       say     to   the press



Dongguk       University          did not       check    Ms            Shins degrees              with Kansas                State




           Dongguk          University         professor          Jeong-Ah            Shin        35       female        who           has been          found          to   have

faked     her degree         arrived     at   New Yorks JFK                     Airport           at    1245        PM   on the 16t local                         time        She

wore     blue jeans        and      gray      T-shirt     With          glasses       and white cap pulled                         down           she    left     the arrivals


area with     her head        bowed


           Nobody met             Ms    Shin        When       the tens of reporters                      who        were     already         waiting             rushed

forward      Ms         Shin said        do not want              to    say one       word         to     the press      who           cut   me     down            to        high-

school     graduate        when        only         plagiarized          my     dissertation                   and took              taxi    out of the airport




           According         to   persons       in   the artistic         community                    Ms      Shin traveled             to       New York              2-3    times


  year She had established                    connections              with    local    artists          or businesspeople                    in   New        York           One

person said        that    Ms      Shin    will      probably stay with an acquaintance                                      in    Manhattan             or     New          Jersey

In fact    after    boarding           taxi    alone    to   leave        New         Yorks            JFK      airport        she tried to             disembark              at   an


apartment     complex            in Manhattan           But when              the press tried to                    follow        her she went               elsewhere



           Ms      Shin often came             to    New York             but    is   said not            to   have been very active                         in   the


community          there




             person associated                with the       New York             Culture               Center said           that     its normal                 for    gallery

curators to      visit     the Culture        Center when               they    come         to    New York              but       Ms        Shin never            came
The person added                  have never met her even once                          at             cultural       event       in   New York

           We    have learned          that     when     Ms            Shin came        to    New          York        she        often went            to   New         Haven

where     Yale     is   located     The       telephone        number           written           on the document                    submitted           by       Ms         Shin    as


  degree    certification         was confirmed              to    be the office of the humanities                                   department              at   Yale

University


           Before leaving           the country          Ms            Shin reportedly                 told         person close             to    her       Im going               to



get   away from           the storm and         make     my       response slowly                        and Ill be there on                       my    own       for about


month
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              Suspicions about Dongguks                                     verification           of    Ms        Shins degree                 New         suspicions        are


being raised regarding                      the process                 of Dongguk             Universitys          verification            of Ms Shins degree

This    is   the claim            that     no degree              inquiry was            made     to    Kansas       State University                  in   the   US       where

Ms     Shin claimed                  to   have obtained                 her bachelors             degree


             Todd Cohen head of                          the       PR     office at Kansas              State       said in an interview                    with the

domestic press                that        our     universitys              academic            records    department has no record                            of receiving

request       for         check        of academic                record      from Dongguk                University             in   2005


             Dongguk             University             has       claimed      that       in     early September                 2005 an          official        request     for


verification             of   Ms       Shins       academic              record      was       sent by registered                 air    mail    to   Yale University               and

to   Kansas         State At              the   time Dongguk                  University           explained             that    only Yale responded by fax

stating that         Ms          Shin did indeed receive                            degree       from     Yale

             However              the registered                  mail receipt held by Dongguk                            University            shows        only the


tracking      number and                  recipient           country       USA            and does not show the address of the                                    actual


recipient       In fact           there are said to be no records                              remaining           that    would          enable       objective

verification         of whether                 Dongguk            University            did send letters to Yale University                                and Kansas State

Dongguk         University                reportedly              did not use        the tracking             number        to    check         whether the request had

arrived      properly                  person associated                   with Dongguk                 admitted          although          we        have    tried   to     check

in   many     different           ways we              are        now    unable      to    confirm it



             Sang-Il          Lee head of               the       academic        support         office at        Dongguk University                         said that      an
official     physical            document              has    been received               from Yale University proving                                officially      that    Ms
Shins doctorate                  was fraudulent                    The person explained however                                   that    there        is   not currently       any

plan   to    request             prosecutorial                investigation              of the incident of               Ms      Jeong-Ah            Shin and our             basic


standpoint          is   that     the schools                own        investigation           should        as   much          as possible           bring      things to

close


             Ms            Shin quit her position                         as head        of the    arts   and sciences program                         at   Sungkok

Museum          which            she      had held           in   addition     to    her professorship                    immediately before                   leaving        the


country             person associated                    with the Sungkok                      Museum         reported           on the 17th           that    Ms       Shin


submitted her resignation                          on the 15th              and     it   was     processed          as      voluntary            dismissal         on the same

day

             This        person said            that    Ms          Shin stated           in    her interview             with Mun-Sun                 Park head of the

museum         on the            14th      that    the issue of             my position            is    up   to   the Board             of the       museum The

person added              that    Ms         Shin said             to    Mr   Park        in   her interview              that    the suspicions              being    raised in
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the press about       my degree    are   entirely        baseless       Im going            to   leave   the country       immediately               to


consult   with Yale University           and lawyers and take                 legal      action       against    the people          who have

slandered      me
          New    York       Correspondent         Jeong-Ho            Nam      Seoul             Reporter       Gi-Heon Kang




The   Battle   Over    the Truth about      Ms      Jeong-Ah           Shins         Doctorate



                                            Claims by Dongguk                                            Claims by Professor                  Shin and

                                            University           and associated                          family


                                            persons

Yale University        doctorate            We       received          an   official      letter         The     degree        is    genuine         This


                                            on the        16th    stating     that    the                is     slanderous           plot

                                            degree        was fake Dongguk

                                            University

                                                  dont know            who Jeong-Ah

                                            Shin     is     Professor Mehring

Kansas    State University                         student       with the same                                attended     Kansas         State as an


bachelors      and masters                  name         as Professor         Shin                       undergraduate              for     years         Its


degrees                                     attended        as an undergraduate                          also true that             studied


                                            for      years and then                dropped               business        administration

                                            out Kansas                State


                                            University

Seoul National        University            Ms       Shins name               is   not                   The     statement           regarding

admission                                   among         those       who    qualified for               attendance       at    SNU       was

                                            admission            to   the college        of              misrepresented

                                            arts    at    SNU         Seoul        National


                                            University

Plagiarism     of Yale University           The     dissertation            published            by      There      is   no issue here

dissertation                                the University             of Virginia           in          because of the statement                    that


                                            1981     was copied unchanged                                     received    help        from several

                                            Dong-Cheon                 Yun SNU                           people     while           writing    the


                                            Professor                                                    dissertation
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After       arriving at   New   Yorks JFK   airport   on the   6tF   Ms   Jeong-Ah   Shin hurriedly gets   into


taxi   at   about    PM            York     Correspondent      Jeong-Ho    Nam
          Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 30 of 147

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     Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 31 of 147




                                 CERTIFICATE OF TRANSLATION




             Samuel Henderson                    hereby        certify    that             am          competent          in    both the
 Korean       and     English          languages        and      that           translated                 DONGGUK000IOIO
from the Korean language                      into the English           language
             further        certify       that     translation           of      DONGGUK0001O1O                                from   the

Korean language              into      the English      language          is    accurate               and      correct    to   the best

of   my km




   imuel     Henderson
Professional        Translator




Subscribed   and   sworn   to before    me   on ____________      day                                  _____year




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Dongguk          University              Administration             Suspected               of Covering for Jeong-Ah                         Shin

Inadequate         hiring          docs reported            many         times but              Wait

Request      for   degree verification not sent                               to    Kansas         State




           On     the    17t1i      Dongguk           University               stated       that    it   had not checked            her bachelors            and

masters-level           academic             record     in the course                 of hiring Professor              Jeong-Ah             Shin female             35     in



September          2005

           Dongguk                University         had claimed               that          confirmation            request     was        sent to Kansas           State

from which          Professor              Shin     claimed         to       have received                the bachelors     and masters degrees                      she


submitted          Dongguk               University         subsequently                   attracted        curiosity as to         whether Dongguk had

falsely claimed              to    have     checked         Professor               Shins academic             record    when         it    had not in       fact    done so

properly and whether the top ranks                                       at   Dongguk              University       had attempted             to    protect Professor

Shin Dongguk                 University         belatedly          explained                this   afternoon through                  press release           that    this


was   an    error announced                   based on unapproved                           internal       draft   documents          from September                 2005

and upon checking                   it   was found          that        only her           final    degree     from Yale was checked




The   academic               record       check      that    turned           out     to   be       lie


           As    controversy               grew      over Professor                  Shins fake degree Sang-Il                       Lee head of Dongguk

Universitys        academic               support      office           said in            press conference            on the         1th    that    in 2005

requests    for verification                were      sent    by        postal        mail to       Yale University            where         Professor        Shin

claimed     to   have received                her doctorate                   and Kansas            State University           at    the    same time               response

came from Yale immediately                            but    no response came from                            Kansas

           However                Mr     Lees       statement           turned        out     to    be incorrect          Professor            Ahn who              had been

head of the academic                     personnel      team            at    the time of Professor                 Shins hiring by Dongguk

University stated                 on the     17th    that    because                the verification           of her    final       degree was the most

urgent       wrote the             letter to      Yale University                    myself         and attached        the academic                record    verification


form and sent           it   by     registered        mail but                 did not send any documents                       to    Kansas         State Todd

Cohen head of                the    PR     office at Kansas                   State        said in an email          interview        with      this   paper on the

i6 that     there        is       no record         of our having                  received          request       from Dongguk              University         for   the


verification       of Ms           Shins degree             in    2005


Inadequate         documents                repeatedly           ignored

           Such     dubious              internal     maneuvering                   by Dongguk              University     has       given         rise to   suspicions

both within        and outside              the school           that        the top ranks were                    protecting        Professor         Shin           person
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associated           with Dongguk University speaking                                on condition      of anonymity                 said that    At the       time


of Professor           Shins hiring               there       was       dispute    between     those       saying      its fake        and those saying

 shes          good person                but    some people            are trying to prevent         her from being hired                     and the

academic         record       was examined                    because of issues raised by professors                     in    the    department The

person said           that    because            Professor          Shin continually       failed     to   submit         transcript            people

complained             several       times that          the documents             are inadequate          but    continually          got the response          of

lets wait        and     see
               This    person also said                that    when       Professor     Shin was switched               to    the General         Education

Institute       in    February of the next year                      after    going on leave         for     semester again complaints                        were

made       about       inadequate               documents and              Professor     Shin was also asked                  to    submit the documents

but kept        putting      it    off      In connection            with this academic              support      office head Sang-Il              Lee stated

that    an     investigation              will   be made         into    Professor      Emeritus Gi-Sam                Hong who           was    President       at


the time        and an investigation                    is    also being conducted            into   Yeong-Taek              Lim Venerable

Yeongbae              Chairman of the Board of Trustees                              of the Foundation              who was an           executive       Trustee


at   the   time

             Former Foundation                    Trustee        Venerable          Jangyun    currently          at   Jeongdeungsa             Temple who
was     relieved       of    his   position        in    May     after    first    raising suspicions         that     Professor        Shins degree           was

fake    in   the Board meeting                   of February of            this
                                                                                   year has claimed          that      Former          President     Gi-Sam

Hong       and Master Yeongbae played                                decisive      role in the special hiring of Professor                       Shin

             In response            Venerable            Yeongdam             chairman of the Dongguk University                          Disciplinary

Committee             stated       that    there        is   no reason       for   these two    people       to   protect          Professor    Shin     and    this


is   utterly    without        any basis          in    fact



Internal       Dongguk            University           relationships         surrounding       Jeong-Ah           Shin




Key                      Hostile

                         Venerable               Jangyun having              raised issues      regarding         Professor           Shin in    May     is


                         stripped of his position
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                      Former president Gi-Sam Hong

                      now professor              emeritus

                      Friendly
                      Professor          Jeong-Ah        Shin

                      Hostile          relationship

                      Venerable Jangyun

                      former Dongguk                   University      Foundation           trustee

                      Yeong-Taek              Lim Venerable             Yeongbae
                      then        regular Trustee             now    Chairman of the Foundation                 board
                      Internal         sources    claim       that   in September           2005      they pressed           actively    for

                      Professor          Shin    to    be hired
           10         In February             raised problems           of Professor         Shins plagiarism             and forgery of

                      academic           credentials



Reporter        Gyu-Hyeon Lee kyuhchosun.com
Reporter        Ran-Hee Park rhpark@chosun.com




Ms      Jeong-Ah     Shin        35      who     has    given    rise to       fake doctorate controversy                       got into         taxi   to

leave    JFK    airport     in    New     York on       the    afternoon       of the 16th local         time        after    arriving there on

Korean     Air flight       from Incheon Airport The press found her                             difficult     to    recognize          thanks     to   her

wearing         hat pressed        low over horn-rimmed                     glasses    and bobbed       hair




Entering    the    US Ms           Jeong-Ah           Shin wears hat and glasses               and vanishes           into taxi after


skirmishing       briefly        with reporters

           Dongguk        University          Jeong-Ah         Shin female             35    who had     disappeared            from Korea

appeared    in    disguise        at   JFK    Airport     in   New     York       in   the United     States    At 1245           PM     on the     16th



local    time      Professor           Shin   having arrived           at   JFK    Airport on Korean           Air flight         KE    081 wore

blue jeans         gray     T-shirt       and         white hat pressed           deeply over her face              She wore black          horn

rimmed     glasses        and her bobbed              hair   was     cut even      shorter    making     her difficult          to    recognize         Her

only baggage        was          large travel         bag and handbag

           When     Professor           Shin was mobbed by reporters while attempting                                to   leave      the airport           5-


minute skirmish           ensued         She kept her mouth firmly closed in response                           to    questions         asking     how
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she   had come       to    New     York and when             she planned to      return to    Korea         saying    only          have nothing

whatsoever      to   say     to   the press that       has   reduced   me   to      high   school     graduate        based upon            my
alleged     dissertation          plagiarism          and nothing    else Professor          Shin    left   the airport      in      taxi   alone

without       companion           traveler   or anyone         greeting her at the airport           She did not indicate her

destination    in    the    US     Professor     Shins family stated             that   Professor Shin has             gone    to    the   US    to


assemble information               proving     that    her Yale University          doctorate   is    genuine          The New York

consulate     stated      that    We   cannot     track Professor       Shins whereabouts               since        she has      not been


convicted     of     crime

New    York        Correspondent          Gi-Woon            Kim
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                                CERTIFICATE OF TRANSLATION




                Samuel Henderson                hereby    certify    that      am   competent          in    both the
   Korean       and   English         languages     and     that         translated    DONGGUK0001O13
   from   the   Korean language             into the English        language
                further    certify      that     translation        of   DONGGUK0001O13                     from   the

   Korean language          into the English         language       is   accurate and correct           to   the best

   of   my knowledge       and    proficiency




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                Translator
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  Subscribed and sworn    to before   me   on                                         L0   ti   year




  Sina\re   of Notary
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 Hankook                 Ilbo



 Growing                     Suspicion              Dongguk                    University           being       deceived          or protected

 Dougguk                University            did not verify undergraduate                                      and masters              degrees          of Professor              Shin


 As    it    is    found        that      Dongguk              University              the University                      did not even            verify       the undergraduate

 and    masters               degrees         of Professor                 Jeong          Ah     Shin     Shin             suspicion          is   raised       about        whether           the


 University              has protected              Professor                  Shin


 Contrary               to    the      explanation               given           by       the    University           in    the    beginning              it    is    found        that        the


 University              did not verify              the       undergraduate                     and     masters degrees                of Professor             Shin which was

 proven           to    be    fraudulent



 In    September                 2005         when          Shin           was         employed            the     University             did      not      send             request           for

verification                 of academic             records              to     the    University          of Kansas             from which              Shin        is    said   to        have
received the undergraduate                                and masters degree                              On    the    11th     the     University             had announced                  that

it    had        sent          request        for    verification                 by      mail     to    the    University            of Kansas           and Yale University
from        which Shin allegedly received                                      the     academic          degrees



On      the       l7          immediately                after       it   was        found        that    the    University           did     not    request           verification             of

academic                records        to   the University                     of Kansas          the    University           belatedly announced                      an    explanation
that        Our          announcement                    that we had                      requested              verification            of academic                  records           to    the

University               of Kansas was                    mistake


The     explanation                 confirmed             that       the       verification            of academic          records         to     the University             of Kansas

was              mistaken           announcement                     based           on         draft    prepared          in   September             2005           when      Shin          was
employed                 and        that     the     verification                    of    final        academic           record       was        only        requested           to        Yale

University



However                 there    is    no     satisfactory                explanation              for    why     the University                 requested            the verification

only        to    Yale        University            but        not        to    the    University              of Kansas           and      how      it   did         not    even know
whether           the        request was           sent    or not amid the recent controversy



Further the fax from Yale University                                             which purportedly                    confirmed           the doctorate               degree       of Shin

was     proved               fraudulent             so    it     is       also       questionable              whether          the     University             had requested                  the

verification             of academic               records to Yale University



The     University                  expressed            It was                definitely          sent    by     registered            mail        but     we        didnt confirm

whether            it    arrived            properly              Pursuant                to     the     Office       of    Postal       Service          it     is    impossible              to

confirm           whether           the     University           requested                verification          from Yale University                      because even                  in    the

case        of registered                 mail      the        shipment                and       delivery        records          are    deleted          from the            electronic

database          after         year thereof




                                                                                                                                                                                             YALE0000077
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Moreover               is                     that   the                                     the      fact    that    Shin       did    not   submit    the
                  it
                            reported                         University        ignored
academic      records            at   the   time     of    her employment              and     that     the   issue        was   raised with      respect
thereto



Therefore      there        is   suspicion       that     the   University      was     not deceived            by     the   lies   of Shin but may
have   actively        protected        and    covered       up Shin     for   some    reason


Meanwhile          the      Gwangju           Biennale                    Shin    to     the    Gwangju          District        Prosecutors      Office
                                                             reported
with   the   charge         of obstructing official             duties    by     fraudulent           scheme          in   the morning of the          18

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Dongguk          University          received        confirmation of Jeong-Ah                              Shins fakery months                    ago but ignored

it



Person     in   university       arts   association            received            email         confirmation           from Yale on April




           It   has    come     to   light    that    even     after       receiving            decisive      evidence          that    Assistant        Professor


Jeong-Ah        Shins     35         doctorate        was fake             in    the form of               written     confirmation              from       Yale

University       professor           before     May     of    this
                                                                         year Dongguk                 University            ignored      this




                person associated             with the university                    arts      association       stated        that    an    email proving that


Ms    Jeong-Ah          Shins degree           was     fake        was         received        from Professor               Christine     Mehring           in    the Yale


University       art   history department               on April                  and     this    was      sent in April to              person         involved       in


the association         who     is    employed         as      professor             at   Dongguk University


         The person            said    the     information                sent to       Dongguk            University         was      Professor         Mehrings

confirmation           Ms      Jeong-Ah         Shins         fake       doctoral         dissertation          and          portion     of the 1981

University       of Virginia dissertation                   that        she plagiarized                and the Dongguk University                             professor

who   received         this   information            cannot        have submitted                it   to   the school         authorities         any    later     than


May

         Professor            Mehrings         confirmation                includes            the declaration          that          have never heard of any

such student          Jeong-Ah Shin              or any such dissertation                         the fake doctoral dissertation                         that     Ms
Jeong-Ah        Shin submitted           to    Dongguk             University             at    the time of her             hiring


         Professor            Mehrings        name was on                  Ms      Shins         fake      doctoral         dissertation         as   both advisor

and member            of the examining               committee



                person associated             with the university                    arts      association       said that        even       at       the time of her


hiring in    2005       the association              checked            into    Ms      Jeong-Ah            Shins background                and found some

suspicious       points and informed Dongguk                               University            of this



         The person            explained        that    at     the time            it   was confirmed                that    contrary       to    Ms     Shins

claims she had never been registered                               at    Seoul     National           University and             Ms       Shin        was   not    on the
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list   of masters and doctoral degree                       recipients    in   the Yale art history department                  for   the past


years


          The background            that       the      Dongguk     University        personnel       now       participating     in   the


investigative         and disciplinary committees                   received     but       ignored    this   decisive     evidence      that      the


suspicions      of    Ms     Shins faked               doctorate   were accurate           is   becoming         source   of concern



          Ms     Shin claimed           to    have received              Bachelor of Fine Arts               BFA     degree with             double

major    in   Western       painting      and engraving            from Kansas             State   The     University     of Kansas          in    1994

and an    MBA         from Kansas         in      1995      followed     by     Ph.D        from the      art   history department           of Yale

University      in    2005    but   every one of these claims                   has    turned      out to be false



          Ms    Shin        currently        in    America was          hired through            special hiring     by Dongguk          University

in September          2005    but   Dongguk               Universitys     failure     to    follow    standard      procedures         for


verification     at   the   time such             as   receiving   employment documents                    such as degree        verification           or


transcripts     has    raised suspicions



          In addition         Dongguk             Universitys       sluggish     response          even    afler   starting   the     work of      the


investigative        committee       is      also problematic
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Upright press          fast     news    Internet       Yonhap News                                                  Page         2/2




           Dongguk         University        sent an official                           for    verification         to    Kansas          State on the       15th
                                                                        request

four days afler         Yonhap News               reported      that   it   had been          officially     confirmed                 that   Ms    Shins

bachelors        and masters         degrees        were     fake



           In     press    conference         on the 11th Dongguk University                               stated        that        we   sent an official


request    for    degree verification             to   Kansas      State in 2005              when    Ms      Shin was hired                    but on the


17th Yonhap            News       reported    that     the administration               of Kansas          State had confirmed                      that   we   did


not    receive    an   official     request and the previous                      statement        was     reversed             in      hurriedly-issued


press release      that    night



                public    announcement              of the findings          of Dongguk              Universitys                internal      investigation        is



planned     for     press       conference         following        the meeting           of the Foundation                     Board on the 20th            but


many     are finding       it   difficult    to    trnst in     this   due   to    the dubious behavior                    exhibited           in   the    meantime




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End

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                                CERTIFICATE OF TRANSLATION




              Samuel Henderson                hereby    certify         that        am     competent       in    both the
Korean and          English       languages       and   that           translated        DONGGUK0001O16-17
from the Korean language                  into the English             language
                                                                       DONGGUK0001O16-17




at
             further      certify     that    translation         of                                            from   the

Korean language             into the English         language          is   accurate and        correct     to   the best

of   my knowledge          and    proficiency




Samufr$Œnjt1tt
Prof         ional Translator




Subscribed    and sworn   to before   me on _____________        day                           II
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                                                                              Fake Diplomas


    Emphasis Must                          Shift        From             Academia                           to Meritocracy



   The        curtain          was         drawn        on         the        first        act         of       fake           diploma            drama           Friday        with         Dcngguk
   University                 sacking           the    heroine and                                     requesting                   the prosecutors                      office       to      investigate

   the     case           The        disgraced                   heroine              is    Shin            Jeong-ah 35                       an    assistant             art     professor                It   is




   quite       regrettable                 that she              has          been          on               lying       spree since                2005 when                   she        applied         for


   the     facutty            position           The         Seoul-based                           universitys                       fact-finding             panel        has      concluded

   that    she       forged              her     bachelors                      masters                      and         doctorate               degrees           when           the school

   employed                her


   tMiats           more            surprising              is    that        her          lying            and      deceit           did    not stop lhere                   She was                   also

   chosen            as       artistic      director              for    the          2008             Gwangju                  Biennale               the    countrys              largest              art


   festival          with          the     help       of her fabricated                                academic                     credentials              and    career          She was
   even       seen            as         rising       star        in    the       art       world The                      Shin case               is    the biggest               incident


   hitting         the    academic                community                      since             the data                manipulation                  by          stem         cell       research

   team       led     by        then       Seoul            National               University                     professor                 Hwang            Woo-suk              last     year


   Shin       fled    to       the United              States             in     an                                 to   avoid accusations                          on her         forgery
                                                                                           attempt

   scheme            and           has     yet    to    admit            it      She must                      have        thrown             away           her scholastic

   conscience                 when          she       presented                    the       university                   with        fake        diplomas                 undergraduate

   and     masters                  degrees            from         Kansas                  University                    and             PhD      from           Yale     University                   The

   biennial          committee                  has     already                 nullified                   their      selection             of her          for   the     art     directorship                  It




   also    filed              suit      against         her        for        causing                  damage                  to    the    festival




                                                                              action.against                           Shin..suspicions.abouLher                                   show            little.____.-.-_-     --


  sign     of      dying           down The                 school             said          in             statement                 that lhere             was no          outside

                      or       irregularities                involving                 the recruitment                               of Shin as              an    assistant professor
   pressure

  We          have         not       found        any            evidence                  proving              outside               pressure           or       kickbacks             in    retum        for


  employing                her            The        university
                                                                               said          former               president                 Hong 10-sams                    aggressive

  management                       style       led     to    the        scandal                   It
                                                                                                        only         admitted               to    the schools                admuristralive

  errors        of not properly                      securing                 and          verifying                Shins             diplomas



  The      claims             sound         like      an         excuse            for      the             schools                 poor recruitment                     process              No

  excuses            can           be    tolerated as the                        ball        is        now        in     the        prosecutions                   court        Prosecutors

  have        to    make                 thorough                investigation                         into     the case               to    get    to       the bottom            of      Shins

  diploma            forgery as                well as            mountwig                   allegations about                              outside           pressure             and

  wrongdoings                      involving           university                 administrators                               Some          senior          professors             and         school

  officials         claimed              that     they           opposed                   Shins               recruitment                  from       the beginning                  due          to


  suspicions               about           her    qualifications                           and         scholastic                   backgroUnd                    But they         said the

  school           ignored           their       opposition



                                                should             set                      clear                                         mechanism                 in    order       to      prevent
  Dongguk             University                                              up                              verification


  repetition             of   the        Shin     case             Other              universities                       need        to     leam             lesson        from       the       scandal

  as diploma               forgeries are                    reported                  to    be         rampant                 In    South         Korea           We      have          to    take

  closer       look                our                       as                                    which                                    much                              on      scholastic
                           at              portrait                       society                                    puts too                           emphasis

  background                    Revolutionary                      changes                   are required                       to     place       less       emphasis              on        academic
  credentials              and more                on       meritocracy                       Only              then       can         we        succeed            in   rooting out

  diploma           fabrication                 and     plagiarism




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              flpn.gguk                                   University                                        Fires               qgus                     Professor


    By Bee           Ji-sook

    Staff       Reporter



    Dongguk            University                    Friday            decided              to


    dismiss          Shin         Jeong-ah                   assistant professor

    of     art at    the     school                 for    fabricating                    academic
    records          inctuding                      bachelors                  degree             from

    the University                 of    Kansas                   and              doctorate

    from      Yale         University



    It   also    decided            to       file    complaints                      to    the

    prosecution              for further                   investigation                     on       others

    included          in    the     fiasco                The             people

    responsible              for    the         incident               will        be     punished
   Oh Ycung-kyo                      president                    of the university

   said       He made                    pubflc            apology                  over      the

   case

                                                                                                                      Oh Young-kyo p.....tofLohgguk
    Han       Jin-soo         vice           president                   of the           university
                                                                                                                      University            announces                   the    results       of
   and head            of the schoofs                            investigation
                                                                                                                     the universitys                  investigation                into
   committee                said        that         Shin         was          recommended
                                                                                                                     academic              record        fabrication              by Shin
   by      Hong Ki-sam                   who          was             then         president                of
                                                                                                                     Jeong           ah     an     assistant professor                       at
   the university                  over         the                           in   2005          The         art
                                                           hiring
                                                                                                                          press       conference               in   Seoul          Friday
   department               rejected                 hiring           her      because                 of
                                                                                                                     Yonhap
   her lack          otacademic                      background                           butthe

   president                                                              her recruitment
                      strongly requested

   However             Han         said         that        it    was Hongs                      passion            to    increase          the schools                 profile       that


   pressured           the        department                          and          that     no money                or kickbacks                 were     received



   The       decision         came              after            three         hours         of discussion                 over        the case          among            board

   members


   However            the         results            announced                      were          inadequate                  as     many        people         still    have

   unsolved           questions



   Shin      was      not included                    in
                                                                 any      part          of the procedure                      She was             abroad         when           the      news

   first    broke          but returned                    to      Korea             last     Thursday               only       to   fly   to    New     York           again      Monday
   However            the         school             did         not     call       her     in    nor request              from         her      related       documents

   pertaining          to    the investigation



  Though              number                 of allegations                        emerged                  that    top    officials        of    the    university             foundation

  tried      to secure             and         defend                 Shins          position            and        recruitment               the     investigative

  committee            failed           to                       Important                questions
                                               pose



  The       university            was         revealed                   to    have          neglected              the    Korea           College        Art Associations

  report      that     Shins             diploma                  was              fake          In    April       the association                  received              letter         from

  Prof       Christine Mehrwig                             of Yale                                                       that      Shin     was       never         one        of her
                                                                               University                saying

  students           and     that        she had                   never            read         any        papers        written          under        her    name The
  school         however                did not take                      any           action         on        the report          which        brought           the       allegation


  that      heads      of    the foundation                            were             attempting                  cover-up



  The committes                         report             is    not      adequate                     experts           said      Questioning                Buddhist            Monk

  Hyunhae             former            director                 of    the         board         of the          university          who        had     approved              Shins

  hiring
         and           Hong             the          former              president                is    also       needed            they        said



  Protests       were         held           in      the         front        of    the     university              when        30      members            of    Jeondeung




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    Temple      in    Ganghwado              Gyeonggi        Province       complained         to    the school        asking      for


    thorough         investigation      into      the   case


    Meanwhile           Shin     said   to   be    staying     in   the        to   collect        evidence     that      can    prove    her

    innocence          has    disappeared           from   the      media   radar and         is   said   to   be   out   of    touch    with

    others      too



    bjs@koreatimes.co.kr




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                Dongguk                             University                                    Fires           Bosus Professor

    By Bae         Ji-sook

    Staff       Reporter



    Dongguk             University               Friday          decided           to

   dismiss         Shin        Jeong-ah                   assistant             professor

   of     art    at the       school           for fabricating                    academic

   records         including                   bachelors                  degree           from

   the     Univdrsitsi             of    Kansas and                        doctorate

   from Yale             University



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   included         in       the    fiasco          The             people

   responsible                for the         incident           will      be     punished
   Oh Young-kyo                     president                  of the       university

   said He made                          public        apology              over      the

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                                                                                                                                         pre               ntol
   Han Jin-soo                 vice       president                 of the      university
                                                                                                          University               announces               the     results      of
  and       head        of    the schools                     investigation
                                                                                                          the    universitys               investigation                into
  committee                  said       that     Shin          was recommended
                                                                                                          academic               record      fabrication                by Shin
  by      Hong Ki-sam who was then                                          president             of
                                                                                                          Jeong-ah1              an      assistant          professor           at
  the      university              over       the      hiring        in     2005        The        art

                                                                                                               press conference                    In   Seoul             Friday
  department                 rejected            hiring         her because                  of
                                                                                                          Yonhap
  her      lack    of    academic                background                     but     the

  president             strongly             requested               her     recruitment

  However               Han        said        that      it    was Hongs                passion          to    increase            the    schools           profile that

                         the                                    and                no                          kickbacks              were    received
  pressured                        department                              that            money         or



  The       decision           came           after         three        hours        of   discussion over                   the      case    among              board

  members


  However               the    results           announced                   were          inadequate            as        many people             still     have

  unsolved             questions


  Shin      was        not     included             in      any      part       of the       procedure            She was abroad                        when        the    news
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  However               the    school            did      not       call    her    in      nor request from her                       related      documents

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  committee              failed         to    pose          important             questions



  The      university              was revealed                     to    have      neglected             the    Korea           College      Art       Associations

  report        that     Shins           diploma               was          fake        In    April the         association               received               letter    from

  Prof      Christine              Mehring             of      Yale        University             saying       that    Shin        was never one                   of     her

  students          and        that      she        had        never         read any papers                    written          under       her   name The
  school          however                did     not        take      any       action        on the report                which          brought          the    allegation

  that     heads         of the          foundation were                        attempting                cover-up


  The      committees                    report        is     not    adequate                experts          said         Questioning          Buddhist                Monk




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   Hyunhae           former      director     of the    beard        of the    university    who       had      approved          Shins

   hiring     and     Hong       the    former president              is   also   needed       they said



   Protests     were      held     in   the   front    of the    university       when 30           members          of   Jeondeung
   Temple      in    Ganghwado              Gyeonggl         Province         complained        to the     school         asking    for


   thorough         investigation        into the      case


   Meanwhile           Shin      said    to   be   staying      in   the   U.S    to collect        evidence         that   can    prove    her

   innocence          has disappeared              from the media              radar   and     is   said   to   be    out   of    touch    with

   others too



   bjs@koreatimes.co.kr




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Dongguk              University        Suspected         of Ignoring                 Evidence           Regarding        Fake Doctor                 Ms     Jeong-Ah

Shin This April

Yale University                email          dont know            Ms       Shin         received          by   university        arts    society


               Suspicions         have been raised                 that    in    April Dongguk University                         ignored         information


proving         that    Professor          Jeong-Ah           Shins female                35        Yale University              doctorate        was      false     even

after    it    was sent        this   information             by   the university              arts      society


                     person associated            with        the university             arts      society      requesting         anonymity               stated    on the

19th    that     in     early April          we   received          an email from Yale University                               professor       Christine          Mehring

art history saying                         do not know             who Jeong-Ah                   Shin is and did not participate                      in    advising         her


on her dissertation                    and      that   in mid-April                   with    the       members         of the university            art    society


steering committee                 present        we     sent Professor                Mehrings            email Professor               Shins fake doctoral

dissertation            and       portion       of the University                    of Virginia          dissertation          from which           she had

plagiarized            it to   Dongguk University                         Professor           Mehrings          name       is   written     on the fake doctoral

dissertation           as   both advisor          and member of the examining                                committee            The person who                  received


the information                regarding        Professor          Shin from the                  arts   society has been           stated      to    be         Professor


Oh     54       in    Dongguks             college     of the arts

               The person         also stated          that    before       this at the time of Professor                         Shins hiring              in   September

2005      the university              arts   society had sent suspicious                           information           regarding        the Yale University

doctorate        to     Professor          Oh
               According         to        person involved                with the society                 the information              sent to      Professor           Oh   at


the time included                     the absence             of     Jeong-Ah Shin on                        the Yale alumni association                          list        the


fact    that    she     never entered            Seoul    National           University and                        the fact      that    the only Korean                 person

to   have received               masters or doctoral                  degree from Yales                      art   history department                 in    the previous


     years     was     Seoul National             University          professor           Jin-Seong Jang

               Professor        Oh    sent this information                     to    then-President            Gi-Sam Hong               but     Dongguk

University            undertook        no proper         investigation                of Professor           Shins academic               record simply

verifying        that       she had submitted                  diploma

                 person involved                with     the society said considering                            that    Professor         Shins information

was     ignored         despite       having been provided                      twice        it   seems     that    Dongguk had no                   desire to resolve


the issue        and that there was some problem                                 in    the internal         system

               Professor        Oh    is   traveling      abroad and could                        not    be reached today                 person involved                 with


Dongguk          said that it will be clarified                      when            the results         of the investigation             are announced                  on the

20th

Reporter         Ran-Hee Park rhpark@chosun.com
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      Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 59 of 147




                                CERTIFICATE OF TRANSLATION




                Samuel Henderson               hereby      certify    that      am   competent        in   both the
Korean          and   English         languages     and      that         translated    DONGGUK0001Q52
from      the   Korean language           into the English           language
                further    certify      that    translation          of   DONGGUK0001OS2                   from   the

Korean language             into the English        language         is   accurate and      correct    to the best

of   my      knowledge      and   proficiency




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Subscribed    and sworn   to before   me on ____________
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SignatuNotary
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         EXHIBIT                             162
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Dongguk          Universitys          Jeong-Ah             Shin      Investigative           Committee              made up of university

personnel         reports       no    corruption             after   superficial        investigation




No     investigation        of then-Chairman

Dongguk          University          will     file   criminal        complaint         against       Jeong-Ah          Shin

               The Dongguk           University         investigative           committee            announced            the results          of   its



investigation       into     suspicions         regarding            General Education                 Institute      assistant            professor      Jeong-Ah

Shin     35      on the 20th          stating    that      we      request      that    the Board           fire   Ms      Shin        and charges         will


shortly be filed          with the prosecutors                    office    including         interference           with      duties through


deception

           The committee               said that      although             there were         procedural           problems           in    the process     of    Ms
Shins hiring            there    was no       outside        pressure       or corruption              and     we     judge          that    former President

Gi-Sam Hongs              overenthusiasm              in     performing         his    duties led to this result


           Regarding            Ms    Shins leave of absence and change                                of   affiliation          which occurred

immediately         after    she      was    hired in September                 2005         the committee            explained             that    this was done

out    of special consideration                by former President                Hong         in   order not        to    lose        capable        professor

           The committee              also said that           no     decision         has    been made            regarding           the responsibility of

former president            Hong       inasmuch            as his     actions    were        taken      on behalf          of the school

           According            to   the committees               statement       no school           personnel           at   all   bear any responsibility

in    relation to the       suspicions         surrounding            Ms     Shin

           The committee              investigated            only former President                  Hong       and Chairman Venerable

Yeongbae then Trustee                    from the school               and the Foundation                   board of 2005                  regarding      then-


Chairman         Hyeonhae            no investigation              was conducted              because        no     suspicions              have been raised         in


the    press Even          the in-person             examination           of former President                 Hong        ended           after   only   about


hours

Some      in   the school        and the Buddhist                 community have              pointed        out    that       two      of the people on the

5-person        investigative         committee         made         statements         in    May      and July respectively                       positively


asserting that          Ms Shins            doctorate        is   genuine         it    is    really    doubtful          that       the investigative


committee        would      have been able              to    properly       investigate            external pressure                and corruption




Despite        the statements          by    the investigative              committee           the truth          regarding          the suspicions         of

doctoral       fakery    will have       to    be revealed           by    the prosecutors criminal                       investigation


Reporter        Sang-Jun        Han     alwaysdonga.com

      Video on donga.com
         Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 62 of 147




                                                                 IT
Public    apology by President         Young-Kyo Oh

          Dongguk        University    President   Young-Kyo Oh        apologizes   to   the public   following    the


announcement       of the findings       of the universitys   investigative    committee      regarding     General

Education    Institute     professor   Jeong-Ah     Shin   who   has   been found   to   have forged      her doctorate


on the aflemoon      of the 20th       Reporter    Dae-Yeon   Won
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                                   CERTIFICATE OF TRANSLATION




               Samuel Henderson hereby certify                        that      am   competent    in   both the
Korean         and English languages and that                             translated   DONGGUK0001O5O
from the Korean language                       into the English      language
               further      certify       that      translation      of   DONGGIJK0001O5O              from   the

Korean language                 into the English          language   is   accurate and correct     to the     best

of   my      knowledge          and proficiency




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Pro          sional Translator




Subscribed     and sworn   to   before   me   on ____________   day of_________            year




Signature

              Notary
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   Former inilversity president takes the heat on                                                                                          art fraud

                                                                                                                                                      July    21 2007




   Announcing              the result of           its   investigation         into disgraced              art    professor         Shin Jeong-ah

   Dongguk           University         yesterday           insisted        there was        no outside           influence         or bribery       involved

   in hiring Shin             who      forged        her academic             records including                   doctorate         from Yale

   University

   The    school       held     only       Hong Ki-sam                   the former       Dongguk          president         accountable            for    being

   too    eager      to select         talented          person and some administrative                              staff    who         failed    to get Shin

   to submit transcripts

   Shin 35 was             also held          responsible                  the school       decided        to dismiss        her Shin was             hired in

   September           2005
   The five-member                  Dongguk           investigative           committee            which included             Han Jin-soo

   Dongguks           vice president held                       media conference              at    its    headquarters             in central Seoul to

   announce           the conclusions               of   its   two-week        investigation

  The committee               said     it   confirmed           that       Shin forged       her academic               records       and said        The
  board of directors                 decided to dismiss Shin Jeong-ah and                                  will   ask    our disciplinary

   committee to exercise                     the penalty            on July    27
   It   said   it   also plans        to           criminal                                   Shin                                  the Buddhist
                                            file                    charges     against                   for    defaming
  school

  The     committee           said     it   investigated             13 people      who were          in    charge       of hiring her or suspected

  of exercising influence                     during      the process           including          Hong and          the Venerable               Youngbae
  incumbent           board chairman

  According           to the        committee            Hong        said he   was                 to hire academic               stars      and decided           to
                                                                                          eager

  offer    Shin        job after           hearing       about her reputation                 in   the     art    world      It   said     it   found no

  evidence          that   Hong was aware                  of her fake degree

  The committee               also concluded               that Venerable                 Youngbae         was    not    culpable as he was                   at   that

  time just           member           of the      board

  The     committee           said          didnt investigate                the Venerable                               then chairman               of the
                                       it                                                             Hyunhae
  board of directors                 as he has not been mentioned                           by the media
  It    said   it   belatedly        found administrative fault                           and failure of some employees                              in   getting

  transcripts         from the University                      of   Kansas where            Shin claimed to have gotten                             bachelors

  degree       in   Western          art    and an       MBA
  The     school      has not yet decided                   if it   will    punish        Hong and some              administrative                staff


  Suspicions          about the phony degrees                            surfaced    in the       media           few days        after    Shin was named

  co-director         of the        Gwangju Biennale                      Koreas biggest           art    event      on July              Dongguk began




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   an inspection      and early in the process          confirmed     that Shin lied about her doctoral        degree

   which led the biennale       to reverse      its   decision   Shin had also worked       as chief curator    of the

   Sungkok     Art   Museum     since    2002    She tendered her resignation           to the   museum before
             for   the United                                    she would   come back with documents
   leaving                      States   Monday         saying                                                 that

   prove her       innocence

   By Moon     Gwang-lip     Staff Writer/       Kim Ho-jeong JoongAng           Ilbo




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        Dongguk                                       Sacks                   Bogus                         Prof Shin                       Jeongab


   By Ceo          Dong-shin

   Staff     Reporter



   Oongguk             universitys              disciplinary             board

   Friday        made        official      discharge              of Shin        Jeong
   ah      an    art   curator        and        the universitys                 former

   assistant professor



   Shin      created            sensation              earlier         this    month

   when          upon     her       being        tapped          as     co-director

   of   Gwangju           Biennale              it   was        revealed         that


   she     had       fabricated          her      academic               records

   which         stated      that    she        had     graduated              from          top

   u.s      universities             including             Vale She              did     not

   own      up    Jo   her     forgery           but    fled      to    New      York

   on    July16        where        he     has        since      been         hiding



   As       you      know we             held the          first       disciplinary


   meeting         on July27             to     give       her         chance           to
                                                                                                                            Shin Jeong-ah
   vindicate           herself       but she           did not          tum up          So

   we held second                    disciplinary                meeting         today             but she          did not     show     up   then      either

   Rev Voungdam                      chief       of   the       disciplinary            board          meeting         told     reporters       after   the

   meeting           Five       out      of     seven       disciplinary               board          members          who       were     present       at    todays

   meeting         made        the    decision             to    dismiss         her


  The      Buddhist          university              has    quickly           responded                to   the scandal          involving         Shin      feeling


  the     continuous           media            reports about                 the caae             marred       its   reputation          The      executive

  board         decided        to   fire      her on        July20 and                 referred the case                   to   the   disciplinary        meeting
   But     critics     point    out      that        the private           university              stilt    needs     to   clarify      how   it   came       to


  employ          Shin    In   the      first     place         without        checking               into    her academic              credentials                basic

  step.irr.hirtng-faculty                  members


  saltwall@koreatlmes.co.kr




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                                                                                                      Korea       Times


                                                                                             August              2007 Friday



Donggak                                Sacks               Bogus              Prof Shin Jeong-ah

LENGTH                 235 words



         By Seo Dong-shin


         Staff      Reporter



        Dongguk           Universitys              disciplinary            board      Friday    made          official   discharge          of Shin       Jeong-ab                an   art curator     and      the

universitys           former        assistant        professor



        Shin     created             sensation        earlier this          month when upon her being tapped as co-director     of Gwangju   Biennale                                                        it   was
revealed        that    she    had     fabricated           her academic          records which stated that she had graduated  from top U.S universities

including        Yale She            did     not    own up          to    her forgery but fled to New York on July16 where    he has since been hiding



        As       you    know we              held     the   first     disciplinary          meeting        on July 27         to   give   her          chance     to    vindicate         herself but she did not
turn    up     So    we held           second         disciplinary            meeting       today but she did not show up then either Rev Youngdam                                                       chief        of   the

disciplinary          board         meeting         told    reporters         after   the    meeting Five out of seven disciplinary board members who                                                    were         present

at    todays     meeting            made     the     decision         to   dismiss     her


        The Buddhist                university        has quickly responded                    to    the    scandal      involving          Shin       feeling        the   continuous         media      reports          about

the    case    marred         its   reputation            The    executive         board     decided          to fire    her on      July    20   and     referred          the    case    to the    disciplinary

meeting         But     critics      point     out    that      the      private   university         still    needs     to   clarif      how     it   came      to    employ Shin            in thc    first
                                                                                                                                                                                                                  place
without        checking         into   her academic                 credentials             basic    step      in hiring      faculty       members


LOAD-DATE                     August               2007



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PUBLICATION-TYPE                               Newspaper




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      Suspicions                                  Grow Over Shins DipLqmafrgtry


    By Kim Rahn
    Staff
              Reporter



    Dongguk               University         denied           reports              that             chief                                                  attempted             to
                                                                                                              presidential            secretary

    cover       up     diploma          forgery by                its   former            assistant professor                        Shin       Jeong-ah who                  fled      to


    the      U.S     after       her    academic              credentials                  were             found      to   be      fraudulent



   The       prosecution               Is   having          difficulty             finding           the     truth    as     key      figures          of the scandal             have
   either       fled      or    are    in
                                            hiding



   Oh Young-kyo                      president          of    the        university                 and      former         government                 administration             and

   home         affairs        minister           said       Monday                that        it   was      not     true    that     Byeon Yang-kyoon
   Cheong            Wa        Dae     secretary             for poiicy              planning                or    other     high-ranking                government
   officials         pressed           the     school         to     hire          Shin or           to     cover      up    her      dipbm             forgery



   rye        never          met      or called         Byeon            regarding                   Shins         case          Oh    said        Oh     and      Byeon         are

   alumni       from           Korea        University             and         they       both         passed          the    state        exam         for    public


   servants            but      Oh     said    their        relationship                   had        nothing         to    do      with    the        recruitment         of    Shin

   as an       assistant             professor



   The       denial       came         out    after
                                                         Byeon                allegedly              met      Buddhist           priest      Jang        Yoon who               was
   member            of    the universitys                  board             of   directors                and    who      first     raised       the suspicion                about

   Shins        academic              credentials             on        July              and demanded                      the      monk         to    stop    making                fuss

   over the issue                    The      report         is    not true as the                        false      diploma          suspicion           was      already

   made-publicbefore-Juiy-Beohsaicl                                                                          .._


   He     also denied               the allegation                that         the school                 fumed        down         the     resignation            which        Shin

   tendered          on June25                and       tried       to
                                                                              protect
                                                                                               her


        neither        accepted             nor    turned           down            the resignation                    because.the                 university           had been

   auditing        her.acadernic                  background sincthe                                      middle       of.June         on       tips    that    her     Yale

   University          doctorate             was      false Oh                     said



   But    Ohs        denial         amplified public                    suspicion                   over     the     allegation            as    key     figures        are

   keeping         mum               Shin     lied     to    the        U.S         on July            16         Van Jang Yoon                   has     bean        hiding

   himself since               Friday         and Byeon                  is    out        of    media         contact



     Seoul         prosecutor               said      they        cannot            contact            the        monk       We            cannot.summon                   him

  forcibly      as        he   is    neither       an    accuser                nor       an        accused           person            he      said




  rahnita@koreatimes.co.kr




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                                                                 Growig                                     Suspicions


    Thorough                   Probes Needed                                to    Shed              Light        on Fake Diplomas


         fake      diploma                             over                 sacked             art    professor                  is    showing           signs           of    developing                into
                                      saga

    high-profile               case        involving                   ranking            government                          officials       and        politicians
                                                                                                                                                                                    The more

    stories          people          read about                    Shin           Jeong-ah                  of      Seoul-based                    Dongguk                university                the

    more         suspicious                they get                about              how           she     became                     faculty         member             despite           lying


    about         her scholastic                      background


    The        university            fired       Shin             35 an               assistant                art     professor                 late    last      month            after     its    fact-


    finding          panel       concluded                      that         she       forged             her       bachelors                masters              and         doctorate

    degrees           when           the        school            employed                      her       in    September 2005                           Announcing                   the      panels

    investigation               results                the school                     said          there       was        no         outside                             or    irregularities                  in
                                                                                                                                                       pressure

    relation         to   the       recruitment                    of        Shin         It    added            that         the aggressive                    management                     style        of


    then        university            president                  Hong             11-sam              led      to    the bogus                diploma             scandal



   We      cannot           understand                      why         the           university               hired          Shin despite               allegations                made            by

    senior        professors                   that        she         had        submitted                 fabricated                  diplomas                  undergraduate                      and

    masters           degrees              from            Kansas                 University                and               PhD       from       Yale University                       Dongguk
    University            ignored              these                                            and employed                          Shin       without                              her
                                                                 allegations                                                                                      verifying


   diplomas



   Unless          there        were            no wrongdoings                               in     the     case           how          could          the    university            recruit          Shin

   as     an     assistant            art       professor                        In    reality            she was               not     qualified            to    apply        for         position

   because                                                 in   Western                 art       according                to    her bogus               credentials                 The        school
                      she_majored
   iilso              come           undiFºThiciiæ                               fTa1i ngt                          LkThTihi0Xiiniiiiii                                                  Æ66UFher

   diplomas               There           are suspicions                          that school                    administration                    officials             neglected            to     verify

   her degrees                 in    an        attempt             to       overlook                 her                   academic
                                                                                                            false                                 background


   Buddhist           priest         Jang             Voon             said       in    early July                  that        he     objected          to     the       recruitment                of

   Shin        due    to       the fake           diploma                    allegations                  while                             as         director           ot   the       school
                                                                                                                         serving

   board He               even        claimed                   that        the       university               stnpped                him    of    his       directorship                because              of


   his    objections                In          recent            interview                  with              leading           local
                                                                                                                                             newspaper                    yen Jang
   alleged         that        Byeon Yang-kyoon                                       presidential                  secretary               for    policy         planning                  pressed
   him     to    protect            Shin The monk                                also        claimed             that         Byeon          promised              to     help       him be
   reinstated             at   the       university                    II    was        reported                that       Byeon            met        Jang       on      July           and

   pressed           him       to    stop        making                       fuss       over         the forgery




   However             Jang          backtracked                        on        the        interview              on                           through                 spokesman                  of the
                                                                                                                           Monday
   Jogye Order                  the        nations               largest Buddhist                              sect        to   which         he       belongs                Jang went              into


   hiding         further           raising           suspicions                      about          Shins           recruitment                  as     well      as     the       presrdential

   officials         involvement                      in    the        case            Byeon              denied           any         allegations              that      he    exercised

   influence          over          Ihe Shin                case


  Another            question             is    how             Shin         was         selected               as     art director               for    the       2008 Gwangju

   Biennale           Koreas               largest               art        festival            From           the beginning                      of    the screening                    process
  she was one                  of    applicants                   with           the     lowest             score             Lee       Jong-sang                  emeritus              professor

   of    Seoul       National             University                        who        led the screening                              committee               recommended                          Shin

  for    the directors                position                   But         he       reportedly                had        little      knowledge                  about        her       age        and

  school         background                      How            could            such          an     unqualified                     applicant          be       chosen            as    the

  director



  The      biennale             organizer                   has        already               nullified           the       selection              of    Shin        It    has       also     filed


  suit    against          her       for                                                             the                            The                                                  should
                                               causing                 damage                  to           festivaL                        prosecutors                   office


  make            thorough               investigation                        into       the scandal                     to     shed        light      on     the forgery of the

  credentials              the selection                        process                for     the        biennales                   art   directorship                  and       mounting

  suspicions              about          govemment                           officials              involvement                       alongside          bribery              allegations




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                                                                  up                scandal

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     The     latest           fodder             for    gossip around                             town         is    the      scandal involving                        Shin            Jeongah
          young         woman whose                           life            it    has been             revealed               was        largely             fabricated




     Since        the        news          of     the        newly              appointed               artistic           director        of       Gwangiu                 Biennales

     forged        academic                      credentials                       first    broke        in     early         July one              revelation               after       anofher


     has come                 to    light          taking           ordinary                 people by surprise



     To most            people               it    is   difficult                  to      understand how                          person can                    get       fired        from         job

     after       forged            credentials                are             discovered                 and          still
                                                                                                                               manage               to    land             similar job           at


     another           institution                 What             is    still         more unfathomable                          is    how         that        same            person can

     obtain             teaching                  position               at             university despite                     serious          allegations                      that    her


     doctorate               may have                   been         forged                 and       that     her         supposed             dissertation                     was

     plagiarized




     In    fact          member                   of    the       Dongguk                       university            board        of     trustees               Jangyoon                    was

     dismissed                after     questioning                           Shins             credibility             When        Shin            tendered her resignation

     to    the    university                in     May         it    was withheld                        In         tact      as   late        as    July              Dongguk

     university              officials            held              press                conference                 saying         that    they           had         verified           Shins

     academic                credentials                    and          that           there     were no             problems



     How      Shin        was appointed                             the            artistic       director            of      Gwangju           Biennale                   the         countrys

     premier           arts        event           in       early July                   even     as     all    this       was going on                     is         baffling              mystery

     Despite           questions                  about           her          academic                 credentials                Shin         who            received                the    lowest


    score         among             the      candidates                            considered                 got      the      coveted             position                It    is    reported

    that     Han Kapsoo                            the       chairman                      of    the    Gwangju                Biennale              Board            of    Directors           at


    the time            of    Shins               appointment                                   the   entire          board        resigned               after        rescinding

    Shins         appointment                                had          the           final     say    in     the        choice         of    Shin           for    the        post



    What         makes             the Shin             scandal even                            more         intriguing            is    the        involvement                   of    Byeon

    Yangkyoon                          senior               aide          to        President           Roh          Moohyun                    Byeon            is    an        avid     art


    collector           and         serves              as          liaison                between             Buddhist groups                           and     the Blue               House

    Byeon         is    suspected                      of    pressuring                     Jangyoon                       Buddhist             monk             to    keep            quiet

    about         Shins             lies         although the Blue                               House          spokesman has denied                                       it




    Jangyoon                  for     his        part said                 through                    Chogye               Order        official          Tuesday                that        he was

    not    pressured                  by     Byeon            to         remain             silent       on         Shin       Asked           why he             called               Han




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Ll0W                                                                                                                              iLHOIM2/2




    expressing           support     for      Shrn          apparently       after        talking    with   Byeon     in   early July

    the    Ohogye        Order     official     said       Jangyoon       was speaking               sarcastically        when    he   said

    that    academic         credentials         should          nor matter     in this       case



    More        than      month     has passed              since    Dongguk          University        and   the    Gwangju

    Biennale           Foundation referred             their      respective        cases       to   prosecutors          However           the


    prosecutors           have    yet    to    release      any findings



    In   the    meantime          speculations             are    rampant      as    to    who may have            been    behind      it   all


    Such        speculations       are     wasteful         and     deepen     the        general     mood    of    distrust     prevalent

    in   our    society Prosecutors                  are   urged     to   conduct             prompt and       thorough

    investigation          into   the   matter




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         EXHIBIT                             168
     GNP    accuses        Biennale    of endorsing              Shin         LIIOI    UI                                                                                                                                                    of
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                                  The          scandal           over former professor                        Shin
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                                  eongah               took           new       turn yesterday after
      Technology                                                                                                                                                                         af5fb4.Al             21         2121421                 -i

                                       Grand           National         Party lawmaker                   alleged                                                                         t21Xb        211    MlXll   oH     41     11Z2121
      Arts/Living


                                  that         the    Gwangju           Biennale             Foundation                    ap
      Spoits

                                  pointed             Shin       as   its     youngest          codirector
      Opinion                                                                                                                                                                           21o1               21thUo1                oLSiJ.iN
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                                  in    spite         of her      forged degrees
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                                  Amid           escalating           allegations             that      aides              of


                                  President             Roh Moohyun                         were      involved
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                                       the       case       of the      fake          professor           the         GN
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                                        leadership                            may demand                      speci                                      as
                                  al    probe           should          the     prosecution              fail         to    pr
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                                  oceed              with         proper investigation
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                             Rep       Park   Chansook                                the    GNP          yesterday disclosed                the     foundations             pas
                                                                                                                                                                                     JM        EF               oFol         oF
                                 meeting      records that led                         to    such         allegations
                                                                                                                                                                                     5JbIja7E 7H2R2                                    Al




                jao1                                the                                       the                                                                                                                              01
                             According        to               documents                              foundation panel                 had     at    first    eliminated

       AI.j
                             hin from the          list    of two            finalists              for    the   codirectors             post Park claimed
      ifXllSl   2F
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                                              Shin        was         not                           the    two    final                         she                                           MI    iI
                             Although                                            among                                    candidates                     was suddenly
      cEf5k     A1l
                                              as the            director              in     the    directorgenerals                   final   decision Park                 sai
                             appointed                                                                                                                                               2l.ECV                of   LII           i2II


                                   Someone          had         obviously                    pulled       strings to       change        the        panels         mind              Afq 47-8fl
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                             Shin 35 was an                    art         curator           and     professor who               was     catapulted            to    fame    wit                                         rT

                                 her appointment                 as director                   of the        Gwangju        Biennale           for    2008          But she          sJ      1H
                                                                                                                                                                              be     jbl             EfAf..            cfj    of.
                             as soon        found         to    have         forged three degrees                          and    plagiarized                 thesis    to

                             come        assistant         professor                   at    Dongguk             University      in    2005         Shin      is   currently
                                                                                                                                                                                           atof4A1
                                                                                                                                                                                     4Jj                  1OLll GDP
                                 the     United    States            but         has been                 unable    to    be reached           since         the    onset    of

                             he scandal



                             The Biennale           board             has         been         deflecting          full   blame        onto     Dongguk             University

                             for   its   decision              claiming               that     it   had appointed             Shin      without        reservations            as

                             the   university        had strongly                          recommended               her as            promising             art   expert      Shi


                                 was      previously              professor                   at    the     school



                             But new        evidence             is        pointing            to    suspicions           that   not    only the         university          but

                             the    foundation            may have                    been          under the        influence         of   some        powerful peopl
                                                                                                                                                                                                                                            Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 80 of 147




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     GNP             Biennale                       Shin        L11   01    I1    4TL
           accuses               of endorsing                                                                                                                                     Page   of




                                 backing      Shin



                            Earlier    suspicions           centered                  on Byeon          Yangkyoon                   chief      of policy        planning

                            at    Cheong       Wa Dae who                        allegedly        contacted            some Dongguk                 officials      inclu


                            ding    Monk       Jangyoon                to    request         help        in   covering            for   Shin     Both deny the               at



                            leg   ation




                            Rep       Park    had    also claimed                     earlier     that        Lee    Jongsang               honorary        professor

                            at    Seoul      National      University                 had    submitted                  recommendation                for       Shin    to


                            erve    as director           of the        Biennale             without           even        knowing        Shins age             academi

                                 background           or job          position




                            Senior     members            of the            GNP       agreed       to     demand            an investigation               by     speci

                            al                       if                                             the                                          connection
                                  prosecutor              necessary                   alleging                Roh governments                                          to


                            he scandal



                            Several          suspicious          scandals               have      emerged             in    the    last   stages     of    the    admini

                            stration         said    GNP        leader            Kang Jaesup                      during    the        partys   senior         member
                                  meeting       It   is   the         prosecutions                duty        to    bring    the        case   before public            thr


                            ough proper and prompt                               investigation



                            State     prosecutors sped up investigations                                           yesterday            preparing     to    summon
                            key witnesses            to    the        scandal



                            Prosecutors          are      planning               to   call   in   Monk         Jangyoon today and may                            also       su
ci
                                                                                                                                                                                               Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 81 of 147




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     GNP   accuses   Biennale   of endorsing            Shin         LII   Ol b1                                                                                                             of
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                            mmon        Hong            Kisam              Dongguk            University         president            at    the    time       of    Shins        re


                            cruitment        in        2005



                            Monk                              is    beFeved            to    have           evidence                                               first
                                      Jangyoon                                                       key                         as he was the                              perso

                                to   raise    questions over the                            credibility     of    Shin      But       he has            been       refusing

                                reply   to the           prosecutions                    summons           calls




                            We       have    told        Jangyoons                  colleagues            that    we      will                      call      him      in   if   he
                                                                                                                                 officially


                            continues             to    refuse        showing               up voluntarily             said      an    official         of the       Seoul

                            estern      District             Prosecutors               Office



                            Jangyoon Tuesday                         denied         the      allegations          that    he received               pressure from

                            heong       Wa        Dae        to     remain         silent




                            Although         it    is   true        that    he met           President       Roh         Moohyuns                  senior          aide     Byeo

                                Yangkyoon                     Byeon         did     not      pressure him           to    cover            for    Shin       Monk          Seung

                            won       the    chief           of Jogye            general        affairs     said         on behalf           of    Jangyoon                 Byeon

                            reportedly            contacted                the     monk       twice



                            But Jangyoons                     comment               failed      to   hush        up the suspicions                      as    he changed

                            his      words        several           times        and     has been          refusing        to                      in   public        or to      mv
                                                                                                                                 appear

                            estigators




                                                                  denying          the      accusation           and     said     he       will   take       legal     action
                            Byeon has been
                                        those           in    the    political         realm and           media who             are        raising      evidencelac
                            gainst




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GNP   accuses   Biennale   of endorsing         Shin      Ll 01      HI
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                       king     accusations



                       By Shin         Hae       in




                       hayney@heraldm.com




                                                            Graft     inquiry   encircles      Roh

                                                            Chinas power             poses   challenge        for   Korea
                           ieatcratb
                                rr
                                                            Lee     stresses    independent          spirit




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                              Seoul    starts   smokefree      campaign         at   bus stops
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          Factional                                 Feud Deepens                                                 in      Buddhist                               Groups


   By Kim          Tae-jong

   Staff      Reporter



   The       diploma              forgery scandal                       of      university                 professor          has        initiated            factional           feud

   between              Buddhist                groups


   The       strife      came             as     some           Buddhist            groups            argued         over      the        controversial                appointment

   of Shin Jeong-ah                         as                                                                                  and           has      revealed             deep-
                                                         professor            at     Dongguk                university

   rooted       areas             of     conflict         that       exist     between                the nations              Buddhist               sects



              Buddhist                                                                    Buddhist               leaders             take                             deal with             the
   Eight                                groups           Monday              urged                                             to                   action      to


   scandalous                 issue



   We        are        in         total        crisis                 representative                     from    the groups               said        Monday              during

   news       conference                    at    the Jogye              Temple               in     Jongno          downtown                 Seoul                        now        urge
   Buddhist             leaders            to    take          responsibility                 for    the scandal              and        clarify       all    the allegations



   The move              came             after               series     of scandals                  in    Buddhist          circles          such          as the

   appointment                    of    Shin        dispute             over       the appointment                      of   the head               monk       at    Jeju

   Gwaneum Temple and embozzlement                                                            by the         head       monk         of    Baekdam              Temple


   The     eight        Buddhist                 groups           include          Buddhist                Solidarity         for    Raform              Korea         Youth

   Buddhist           Association                   and         Buddhist             Environmental                   Solidarity




   But the appointment                            has          spawned             speculation                that      high-profile                Buddhist          leaders           were

   involved         in       the        scandal          as      Shin        was        hired        at    the                           which          has          Buddhist
                                                                                                                  university

   foundation                The         matter          is     developing               into        factional       feud       between               mainstream                 and

   non-mainstream                         Buddhist              groups


   On    Aug 31 Muryanghoe                                           monks              group         whith       belongs            to    the nations                 biggest

   Buddhist           sect          the Jogye                  Order          called      for        the     dismissal          of   alt       the board             directors          of

   Dongguk              university               Foundation                  for    their       responsibility               over        Shins           scandal



   But the action                  is     allegedly             part     of    the      Jogye Orders                    attack           on    Borimhoe               and

  Geumganghoe                            two     mainstream                                     in    the     universitys foundation
                                                                              groups



  The      allegation              is     raised         that      the       Jogye        Order            had     Yen        Jang         Yoon          serve        as         board

  director       of the universitys                             foundation               to     have        an    influence          on        the university                   but    when

  the attempt                to    exercisa              influence            failed           he     disclosed          the        scandal            over     Shins

  appointment



  Van Jang Yoon who                                 first       raised        the suspicion                   about          Shins         educational               background
  belongs          to    the       group          and          also serves               as           board       director          of    the universitys

  foundation



  The      group        also            plans       to    raise         the issue             at     the Buddhist             assembly                  which         is   to    be     held

  from     today         tilt     Sept


  The      involvement                    of Buddhist                  sects       in   the        bogus         diploma        scandal               will    be     clarified          after


  the   interrogation                    of     Hong Ki-sam                    tha       footer            president          of the university



  The     prosecution                    wilt    summon                him     for      interrogation                over      questions                about        how         ShIn

  was      appointed               despite           opposition                based            on     the     authenticity               of   her diplomas



 Meanwhile                   Han        Kap-soo                the      former          thief of           Gwangju            Biennale               Foundation                  said       at


  press      conference                   Monday                that    there           was no            outside       influence              in    hinng         Shin as            the    co




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                   Monk JAmes                                         Doflgguk                              Directors                            to Resign



        By Kim Rahn
        Staff
                   Reporter




        Buddhist            monk Jang               loon who                 first      raised     suspicion                 about       former             Dongguk
        university          professor             Shin      Jeong-ahs                   diploma            forgery            urged       all    members                     of the

        schools         board         of    directors            to
                                                                       step       down


        He      said he       would            cooperate              with     the prosecutions                       investigation
                                                                                                                                                     into     the forgery              case



              urge r3ongguk                 universitys                 directors         and      other         related           school            officials          to    resign

        taking      responsibility                for     causing            problems            by    covering              up     Shins            fake     academic
        credentials                 yen Jang loon                       said       in   the     statement             read         by   his      lawyer           Lee        Jung-hoon
        in      briefing       in    Seoul Thursday


        Shin       35 was employed                         at    the school               and     appointed                 as      director            for   the        2008

    Gwangju              Biennale                          fabricated                                      She                      the    U.S                the       middle        of
                                               using                                 diplomas                        left    for                        in


    July as suspicions                         about       her         credentials             grew


    Ven Jang loon                          also           member             of the       schools             board          of    directors                had   talked            about

    his       suspicions             to    the school                 but said          his claim           was       ignored           and      the        school            and

    biennale            foundation                                 ahead                                     her
                                                 pushed                            in   selecting



    It        Is   shameful          that        no one          takes         responsibility               despite           the allegations                     Ill    step       down
    from                                                        th.ffis0at4Jn                                                           Lee      said the           monk            has
                   my   director          position                                                 .ttie     sJaterrjpgt

   already            tendered             his    resignation                to    the school



   It    was       reported          last       month           that     Byeon Yang-kyoon                            the         Cheong          We Dae                 secretary           for


   policy          planning           pressed             yen Jang Yoon                         not    to    make                kiss over             the case              in      phone
   call       early     July while               he accompanied                         President            Roh       Moo-hyun                 in    Guatemala and

   during               meeting            with     the    monk           in      Seoul        after       retuming              from     the        trip




   Ven Jang loon acknowledged                                            that        he   met      Byeon and                  talked       about            various            Buddhist

   issues             but    riot    specifically               about        Shin         He     also denied                 receIving           the        phone            call   from

   Guatemala


             learned        about         Shins          fake                           from                                       and
                                                                  diploma                        art   professors                         raised            my      suspicions              to


   the school               board         and       the    media               deplore           the       society          that    mistrusts               me      who

   consistently               tried       to    verify     the         truth he           said



  The           lawyer       did     not confirm                that     len Jang loon                       would           answer             prosecutors

  summons                   but     said       he    would         cooperate               in    their      investigation




  rahnita@koreatimes.co.kr




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                                                                                                                    Korea        Times


                                                                                                    September                   2007    Thursday




 Monk Urges Dongguk                                                           Directors to Resign


LENGTH                  342        words



         By Kim Rahn


         Staff        Reporter


         Buddhist            monk          Jang          Yoon who             first       raised     suspicion           about     former         Dongguk         University          professor Shin                Jeong-ahs
diploma          forgery           urged         all     members          of the schools                   board       of   directors       to step      down

         He      said       he    would cooperate                     with     the     prosecutions              investigation             into   the    forgery        case



               urge     Dongguk                Universitys              directors           and     other       related      school       officials       to    resign    taking      responsibility               for   causing

problems             by covering               up     Shins       fake     academic              credentials                Yen    Jang       Ycon       said    in the   statement          read     by     his    lawyer Lee
                      in
Jung-boon                        briefing        in      Seoul        Thursday


         Shin         35 was employed at                         the     school           and    appointed          as         director       for the    2008     Gwangju           Biennale         using         fabricated

diplomas             She left for the U.S                       in the     middle of               July    as    suspicions about her                 credentials         grew


         Ven         Jang        Yoon          also        member             of    the    schools         board       of    directors         had    talked      about       his   suspicions        to    the     school       but   said

his    claim         was ignored and                     the   school         and biennale foundation                          pushed      ahead        in selecting          her



         It     is   shameful            that       no    one    takes        responsibility              despite        the    allegations          Ill step      down        from    my        director     position           the

monk         said     in the       statement              Lee     said    the       monk         has already tendered                   his    resignation         to   the    school



        It    was     reported            last      month        that    Byeon            Yang-kyoon               the      Cheong        Wa      Dae    secretary        for   policy      planning           pressed          Yen
Jang     Yoon         not    to    make             fuss       over     the    case        in      phone        call   early      July while he accompanied                         President        Rob Moo-hyun                 in


Guatemala             and        during             meeting        with       the     monk         in   Seoul       after      returning        from     the    trip



        Yen          fang        loon acknowledged                        that       he met        Byeon and talked                 about       various Buddhist                issues but not              specifically         about

Shin He          also       denied        receiving             the     phone         call      from Guatemala


               learned       about         Shins          fake diploma                from       art    professors and             raised       my    suspicions          to the     school        board      and     the   media
deplore        the    society           that     mistrusts         me      who         consistently              tried to      veri       the     truth he said


        The      lawyer           did    not     confirm          that    Yen          fang        Yoon         would answer              prosecutors           summons             but   said     he would          cooperate         in

their investigation




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      Exprofessors                          home                and         office       raided          in    probe on degree forgery
      f2ach4lE                 2007C9           06    oo
      Prosecutors                on Tuesday                     searched               the   residence               and    university office              of former        art


      professor            Shin       Jeongah who                            is   at   the    center           of        scandal involving               alleged


      degree         forgery              and        highprofile                  influence        peddling



      The Seoul                Western               Prosecutors                  Office      said       yesterday              that    investigators          have

      secured            computer                data emails                        telephone            records           and     bank       accounts         from    her


      office       at    Dongguk                 University




      The     prosecutors                  are        stepping              up     their     investigation               into     the   case       as    an aide      of


      President           Roh         Moohyun                        along        with     other        influential         figures        are    suspected           of



      having         used        their       pull         to    help        Shin       get appointed as                         Dongguk          faculty      member

      and     artistic          director             of    the        Gwangju           Biennale              despite           her forged        academic

      credentials




      But     the    probe           has been                  bogged down                   as   key         figures       who may have                evidence

      such     as       the     Buddhist monk                             Jangyoon           have        refused           to    speak     with    authorities




      Jangyoon            was              former Dongguk                          University            director          and    the    first    one    who

      questioned Shins                           credibility                He was         allegedly           pressured           by Byeon             Yangkyoon
      chief    of       policy        planning                 at    Cheong Wa Dae                       for    keeping           silent      on behalf       of   Shin

      Byeon        denies the allegations



      Shin    left      for     the       United States                     immediately                after    the      scandal broke             in    July



      We      had        planned            to       summon                 other      people          after        securing       testimony            from the      priest


     Jangyoon                  but    he refused to comply                               with     our      request              So we      have        changed        our


     tactics         as with              this       raid                 prosecutor         said



     He     said        the prosecution                         has summoned                    dozens              of   university officials              and

     completed                 reviews           of       the       all    the    data from            American            universities          shown on Shins

     forged          degrees



     Investigators               plan        to       summon                more        people          following           an    analysis        of    the   secured

     materials            if    those individuals                          are     alleged        to    have         intervened          in   Shins

     appointments                    to    those two                   positions




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 LiIOIU1F                                                                                                                         1B10IX1212




     The Seoul         Western      Prosecutors            Office    has taken         over     responsibility          from     the


     Gwangju       Regional Prosecutors               Office         for    the   inquiry     into    allegations        that


     someone had           pressured the Biennale                   foundation        to    appoint        Shin    as   its   youngest

     codirector         earlier   this   year   despite        their       knowing         about     her   forged degrees              The

     Seoul      prosecutors       have    increased          the    number        of investigators            to   10   to    handle   the


     intensifying       probe



     Shin       35 was     found    to   have   torged        three        degrees      and     plagiarized             thesis    to


     become       an    assistant    protessor        at    Dongguk          University       in     2005 She was sacked

     from her positions           from    the Biennale          and        university




     By   Jin   Daewoong


     davidpooh@heraldm.com




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                                                                                                   Lie After                                   Lie



                    Presidential                      Office          Blamed              for                                     Moral
                                                                                                    Crumbling                                         integrity




                   Public                          is    growing            over          influence                 peddling               and         corruption                  scandals              involving              two
                                      anger
                   aides             to     President             Rob       Moo-hyun                   People                  are    disappointed                          at    the        Roh      administration

                   which              has       boasted           of high          moral            standards                   and        reform-oriented                              policies            There          is   no
                   doubt             that      the      latest        cases         prove           President                   Roh        has          only paid                 lip    service            to    the

                   nation              The        President               and      his        inner        circle         are        coming                under            severe            criticism           for   their


                   hypocrisy



                   The          presidential               office         had       defended                  its    two         secretaries                     against                their      alleged

                   involvement                     in   the scandals                     until      the      prosecution                       obtained                 evidence                  implicating              them

                   It    is    regrettable               that      Roh          and      his       staff      have gone                        allout            to    attack            the       media         for


                   reporting                   groundless                   allegations                about              the        presidential                     officials              corruption            and

                  wrongdoings                         The        office         even          threatened                  to    take           legal        action            against               news         outlets        for


                   spreading                   the allegations thatwere                                    later         found            to    be      true



                   It
                        goes          without           saying            that     Rob         himself dared                         to    tell       lies       about           his      aides        to     help      cover

                  up          their       misdeeds                He      might          have         not noticed                    their          alleged             wrongful                  behavior

                  because                   the    self-proclaimed                            Mr Clean has                            strong            confidence                      in    his    staffs        moral

                                                                                          defense              of               aides             has       dealt                                             blow      to      his
                  integrity                 However               his     active                                         his                                                     devastating
                                                                                                                                                            --

                  own           clean          and      reformative                image              as     well as             that          of    his          Participatory                     Government


                  One           of the humiliating cases                                 is         bogus            diploma                   scandal            surrounding                         former

                  assistant                 art    professor              of       Seoul-based                           university                  The         case         forced              Byeon Yang-
                                                        senior                                                                  for                                                                     Monday               for
                                                                        presidentiat-                 secretary                        policy              planning               to-resign


                  tying         about           his     relationship               with        the         professor                  Byeon                had        repeatedly                   denied

                  allegations                   that     he      played                role      in
                                                                                                       helping                 Shin       Jeong-ah 35                            become                  faculty


                  member                  at    Dongguk               University               In     2005           with       take           degrees


                                                                                                                                                                                                                                  or
                  Many nawspapers and                                      broadcasters                      have          reported                  allegations                  that        ranking            officials


                  big-name                   politicians            are behind                 the Shin                  scandal                The         media             have           raised              question

                  How come                     the      university               hired        her without                  even           verifying               her fake                credentials

                  undergraduate                         and       masters              degrees               from          Kansas                   University               and              doctorate             from

                  Yate          University                 She was                also selected                      as        the    art         director             of   the         2008 Gwangju

                  Biennale                  the       nations           largest          art       festival              through               her fake                credentials                  Dongguk

                  University                   sacked          her      last      month            and        the biennale                          committee                 also           nullified        the

                  selection                  But        the scandal                has         no     sign          of calming                  down             due        to    Byeons              alleged

                  involvement



                  From           the beginning                                      denied                    the allegations                                                                 he    was          not
                                                                    Byeon                              alt                                                 claiming              that


                  acquainted                    with     Shin But                  his    claim            turned              out    to       be          tie        Monday              as       investigators

                  found          that          the two         exchanged                  about              100         e-mail           love             letters               They             apparently

                                                  romantic                                            well before                    the                                    hired        her Byeon                 also
                 developed                                              relationship                                                           university

                 denied               allegations that he                         asked            Buddhist                monk            Jang            Yoon             who          first      raised

                 suspicions                    about       Shins           credentials                     to stop              making                  fuss about                      the issue                But    no one

                                                                                                                                                                                             get the
                 can                      out the                                             he      exercised                 influence                  to
                              rule                       possibility              that                                                                           hetp Shin                                  professors

                 position              and        the    art      directorship                 for     the          biennale



                 Another                  high     profile        scandal              is related             to         presidential                  protocol               secretary               Chung             Yoon
                 jae who                  resigned             last     month             He       has       been              blamed               for     arranging                        meeting             between

                        regional             tax      office      thief          and      the       heed            of         Busan-based                            construction                  firm         The       case

                 surfaced                 as      the tax         official        was         arrested               for                        IOU        millIon            won            in   bribes         from      the
                                                                                                                               taking

                 businessman                       in    return           for    overtooking                  tax         evasion                   Critics           alleged            that       the presidential

                                was                                                                 because                    the                                                not investigate                      him
                 office                     trying       to    protect            Chung                                               prosecution                       did


                                      his                               role      in     the     case
                 despite                       suspicious




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   Amid         public     outcry        the prosecution                 is   conducting          reinvestigation          to   confirm    his

   involvement             He was     found       to    have             dose       connection        with    the    company       that   offered

   money       to    him   in   the   form of      political        funds The            prosecution          must    conduct      thorough

   investigations          into   the two       scandals            to    sternly      crack     down    on    corrupt     officials      The

   presidential        office     also    has     to    make        the       utmost    effort   to   improve        the   moral   integrity     oF


   its   officials    and   regain       public        trust   in   the scandal-tainted                Roh     administration




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        09-16-2007                 1739                                                                                                                                      PRINT




           Dongguk                              Professors                                    Call for Resignation                                                          of
                                                                               Directors

   By Kang             Shin-who

   Staff     Reporter



   Dongguk             University              professors            have         started            campaign                to oust      its   board         of trustees

   to   step     down           over      the    Shin Jeong-ah                         scandal                Saturday             About 20 departments
   deans         at    Dongguk             have        asked         professors               to JoIn the           campaign             to   dismiss         its      board         of

   trustees



   The     professors                                also                             the                     Order      the                     Korean             Buddhist
                                        group                 requested                       Jogye                                biggest

   group and founder                       of the      school            to     renew         operation            plans       and asked              its   president              to

   be more responsible                          for the       dishonorable                   scandal           involving        the      school


   For     the     campaign                sIgnatures              are        beIng        collected          from      the    university         professors                  So

   far nearly           121        professors               Joined       the     protest        against           the    school          board        It     is     true that

   Dongguk             University              professors            have        remained                silent    on    recent          turmoil        As          believe

   professors             at      least    need        to    whistle-blow                  Irregularities           of our      school            decided              to    start


   this    campaign                     said    Ko Jae-seok                       professor              of the      Korean Language                        Education

   Department


                                                             be       detonator                               school                                                        take
        hope       this        campaign              can                                      for   our                      professors          to     officially


   part    in    the    problem                 he     added          Earlier              Buddhist           monk Jang Voon                          member                of the

   board        who       first    raised        suspicions               of    Shins         degree           torgery         submitted                 letter        of

   resignation             in     the    beginning            of   this        month It             is    shameful            that   nobody           from        the        school

   is   taking        responsibility             for the          scandal             so     want        to    resign        and     urge       board       directors

   and     staff      involved-in              the    scandal            to    step-down            too           Jang        said



   Meanwhile                                     to    leave        Korea                   china        on Saturday               but    his plans          were
                           Jang         tried                                     for


  thwarted            by   the      Ministry          of Justice              when         prosecutors              appointed            him as one               of the

  core     witnesses               of the       scandal


  The      prosecution                  has banned             the       departure             of   some          critical     figures        involved            in   the

  scandal          including             Jang Byeon                Yang-kyoon                       former          presidential              policy      planner and
  Hong       Kr-sam               former        president           of the        school


  kswho@koreatimes.co.kr




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                Probe Triggers                                                 Bacidash                              From                      BuddhlS

   By Kim Rahn
   Staff     Reporter



   Buddhist           groups                urged         the prosecution                   to    stop    investigations                       that       they      claimed

   stander           the Buddhist                    community amid                        ongoing        probes               involving                  degree         scammer
   Shin     Jeong-ah                    tormer            presidential           secretary              for    policy           planning             Byeon          Vang-kyoon
   and      several              Buddhist              monks


   An      association                 of   Korean               Buddhist        sects           made           joint      statement                  after        an   emergency
   meeting            Friday           and      asked             the prosecution                  to   investigate               the case                fairly    and           the   media
   to
        report        it   responsibly



   The      association                     comprised              of    27    sects        including           the Jogye               Order Taego                      Order           and

   Cheontae                Order            said the case                 of   the diploma               fabricator              is    being          distorted



   Shin     was employed                          at   the Buddhist-mn                          Dongguk         University               in     2005          utilizing           forged

   degrees            and          yen Yeongbae                          chief    of the          schoofs            board            of directors                 allegedly            tried


   to   cover        up     the forgery



   In
        exchange                 for    the     monks              protection              of   Shin      her alleged                  patron             Byeon abused                    his


   power        to    grant            government                  subsidies           to       Yeongbaes                temple           It    is    also       suspected

   Byeon         peddled               influence             to    expand         financial             support           to    several          other         temples              and

   other     projects              related           to     Buddhism


   The      group          said We                   feel        sorry-and        responsible                 that       the diploma                  forgery case                  started


  from          Buddhist-run                      unIversity             However                 we     worry       that        the     case          has     expanded                  to


   issues       unrelated                to    the core            of    the   case             such     as         high-ranking                     officials          influence

   peddling           The          case        has          also    beer       distorted wilh speculations                                     that       the Buddhist

  communty                  is    corrupt


  The      representetives                        of the groups                said        the     prosecution                  and     the      media have                   spread

  unconfirmed                    allegations                     Some media make                         reports as              if    the     state        subsidies

  provided           to     temples             through             normal        procedures                  and        screening              were wrong                    end       were

  corrupt        We          see        suth         reports as                systematic                slander           of    the Buddhist                  community

  they      said



  The      association                  requested                 the    proseculion               to investigate                 the case                fairly
                                                                                                                                                                    and

  transparently                   based         on        the     law     adding           they       would         take        legal     action            on     baseless              and

  suggestive               reports



  An    official       of        the    Jogye          Order            said only           10 temples              were         currently                receiving           state

  subsictes           in     an        indirect        manner             and    so        there        was     little     chance              of     illegalities           being

  involved



  Speculative                     articles        are                          for         example         that          the Jogye              Order         paid       rent       for
                                                             rampant
  Byeons             temporary                residence             and        that             monk                       huge sum                  of    money             to    Shin
                                                                                                         gave
  Reporting            such            rumors          is    an    attempt            to    damage            the    Buddhist                community                   as       auth

  speculation              could            easily          be    proven       false through                      simple              investigation                     he    said




  rahnita@koreatimes.co.kr




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Upright press                  fast    news      Internet     Yonhap News                                                                        Page        1/2




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Jeong-Ah Shins US                           college    record     not   checked        during        hiring Second                 Summary


Dongguk             University           backpedals          the statement           on the 11th that an inquiry was made                               to    Kansas

State was           in   error



Failure        to   verify bachelors                  masters      degrees      suspicious



              Seoul            Yonhap         News         Upon   confirmation          that     the official            request      that    had been claimed

to    have been sent by Dongguk                            University    to    the   US when           it   hired     Ms      Jeong-Ah          Shin    as


professor           was       not     actually      sent     belated     explanation            has    been made            stating     that    Dongguks             own

announcement                   was     in   error



              The Dongguk                   University       investigative       committee             which        is   currently       investigating             the


case     of   Ms     Shin           announced         in
                                                             press release       on the night of the 17th                     that    regarding whether or

not     an    academic              records    inquiry was        made    to    Kansas         State University               in September             2005         as


announced            on the 11th              the statement        made was an               error    based on             draft     document          and only her

final    degree          at   Yale University              was checked


              This       is     reversal       of the announcement               made by             Sang-Il      Lee head of            the academic


support        office          at   an   official
                                                      press conference          on the 11th            that      in   early September             2005

inquiries regarding                    Ms     Shins        academic     record       were sent         to    Yale University                 and Kansas        State


University           by       registered       mail but no response              was     received           from Kansas              State


              Dongguk               University        offered this explanation                only 10 hours              after     Yonhap News               reported

the official         confirmation              from the head of the Kansas                      State       PR   office     that     no      request    for    an

academic            records          check     regarding      Ms    Jeong-Ah           Shin was received                   from Dongguk University                       in


2005


                    person associated                 with Dongguk University                   who was          head of the human resources

team     at   the time said that                 originally the         draft    indicated           that    inquiries would             be made        to    both

Yale and Kansas                     State     but   out    of the thought       that    it    would be           OK   to    go through         them     in
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sequence           the official      request    was    sent only to            Yale and            it   was      intended       to      send one          to   Kansas

State later but            this   was     ultimately not       done

               In the course        of preparing      this     draft      it   indicated          that    Ms      Jeong-Ah              Shins bachelors

masters          and doctoral        degrees    were    all    being checked                 but        this   was      subsequently           changed           and no

effort    at     all   was made      to    verify her bachelors                and masters               degrees raising                ftirther      suspicions


regarding          the   context     of the decisions         made        at that      time



              Dongguk        Universitys        claim    to    have sent an             official         inquiry to Yale in September                           2005

also cannot            be objectively       confirmed         at   this   time



                  person associated            with Dongguk               when        asked       it     is    certain that        an   official      inquiry        was

made     to    Yale        said that       my understanding               is   that    it   was sent by registered                      air   mail but              am
unable      to    confirm this



            The        registered    mail receipt in          Dongguk Universitys possession                                   shows          only    the tracking


number and              the recipient      country    USA            and does          not    show            the address          of the actual recipient                  it




turns out        that    the tracking       number was never checked                         at   the time         to    verify that          the request           had

arrived




                  person associated            with Dongguk             University           said that           We      have        checked         in
                                                                                                                                                           many
different        ways      but    cannot    now   confirm          it   There     is    no address               And     so   it   is   not possible           to
                                                                                                                                                                    press

Yale University             on     whether the request             was     received          in    2005
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Upright press                      fast    news         Internet        Yonhap News                                                 Page    2/2



                  The person               said        According              to    our records the recipient                 country       of the registered mail

sent        by    the head of the university                            HR         team on the day following                  the approval            of the decision           to


send             request          for     verification to               Yale was          America There              is   no recipient          address but            think        this


has     to   be the one                  that    was        sent to     Yale


                       Dongguk              University              staffer        who had been             tasked   with     HR     work       in    September        2005

said that               have heard                   that    staff     requested          additional        documents         from the school            due    to     the lack


of documents                   such as transcripts                      but    the    word came down                 from above            to   wait     but    did not


clarify          to    whom          this       above         referred



                  The Dongguk                   University             investigative            committee        stated      that    the    sending       number            written


on the Yale University                               fax response             which        has     now      turned    out to be fake             at   the time of       Ms
Shins hiring                 is     the    number of              the associate            dean of the graduate               school       and Yale University                  has


informed us                  that    they        are currently           investigating             whether there was                 counterfeit         fax from this


number


                 The committee reconfirmed                                   that    Ms     Shins bachelors                 masters and doctoral                degrees

were        all       fake     stating          that    we        have received             an email notice               from Kansas           State University             that


Ms      Jeong-Ah                  Shin attended               Kansas          State as an undergraduate                     for   three years from spring                    1992

to   fall    1996            but     did not           graduate



                 Sang-Il            Lee head of               the      Dongguk         University           academic         support       office      stated   that



currently             there are no plans                     to   request            criminal         investigation         of the Shin case



                 He     said that           We         hope       to   put    an     end   to    this   with   our    internal       investigation and                 the

press keeps pushing                             in    that    direction            toward       the need for              criminal    investigation             but    it   doesnt

seem        to    be well thought                      through


                 Regarding the question                             didnt          the lack      of     criminal      investigation             and consequent lack

of an       exit       ban        allow         Ms      Jeong-Ah             Shin    to    leave      for   America          he said       we     have not yet decided

how     to       proceed            in    the current unexpected                       situation
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End

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                                 CERTIFICATE OF TRANSLATION




               Samuel Henderson                hereby       certify      that      am   competent       in   both the
 Korean and          English       languages       and      that        translated      DONGGUK0000993-94
 from the Korean language                   into   the English          language
              further      certify     that   translation          of    DONGGUK0000993-94                   from   the

 Korean language             into the English         language          is   accurate and correct        to the best

 of   my knowledge          and    proficiency




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Subscribed     and sworn   to before   me on ____________                                   tI
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Yale            News         Korean                       accused    of              Yale                                                                                                                                    849
       Daily                            professor                          forging           art   de..                                           http//yaledailynews.com/articles/printarticle/21




               Yale Daily                                  News

               Published         Tuesday             October          16 2007



               Korean professor accused of forging Yale                                                                                      art degree


               By Thomas          Kaplan            and    Martine          Powers

               Contributing           Reporter            Staff      Reporter




                  South       Korean       art                                       who rode her Yale                     doctorate         to    stardom            in    the       Korean       art   world
                                                    history       professor

               has been        arrested       for fabricating               her degree             Korean        officials said            Friday


               Shin    Jeong-ah          35         rising star in the               South     Korean           art   world claimed                  she    received                  Ph.D        in   art


               history       from Yale         in   2005 though               the University              said     there         is   no record of her ever                       attending            Yale

           Prosecutors charged                       Shin with forging                her Yale degree                 and                                             $400000               from the
                                                                                                                             embez4ing                   nearly

           museum             where       she was               curator


           And         in   an ironic      twist          the   saga      may      actually        be     harbinger              of positive                not       negative                   energy for
           the        School     of Art


           If     anything            her choice of Yale speaks                        to the reputation                   the    school      carries           worldwide                   Professor

           Sandy            lsenstadt     said       Monday It               certainly        doesnt        diminish                     reputation


           The        arrest    confirms            suspicions         raised        over the sumner that jolted                             country where                       diplomas from               elite


           colleges           drive     the   job market


                                               Shin landed her prestigious
           Prosecutors            allege                                                            job with the help of her romantic                                      partner               top

           presidential           aide who             exerted        his influence            on       her behalf          The       aide    was         also    arrested



           The        Korean      media          first    printed         doubts about             Shins        degree       this      summer             though           the    professor

           frequently            asserted        her innocence                and vowed             to   come         to   New        Haven         to    prove        she actually               held        Yale

           degree            She nevercame                  and      the    University         does not believe                   she   ever matriculated                        at    Yale       University

           spokesman             Tom Conroy                 said     in    an e-mail        Monday

           Using        her forged            Yale doctorate                Shin became             the    youngest              professor          at    the    esteemed              Dongguk

           University            in   Seoul and            landed jobs as the curator                      of         celebrated           South          Korean           art    museum           and       as the

           director          of one      of Southeast Asias largest                          art    exhibitions



           After       Dongguk           board       members              raised     doubts about               the    legitimacy            of Shins            diploma                wave of

                                              across        the                  turned            minor scandal                 into      national             one        In the aftermath                  of the
           resume-checking                                          country
           Shin       affair     several         leading        scholars        and    celebrities          fell      from grace           as they          admitted their credentials

           had        been     falsified       some of them                 apologizing            tearfully



           The        presidential         aide       Byeon Yang-Kyoon                        58 was            charged          with    peddling           his       influence             to   help Shin

           land       her     professorship            and      to   persuade         companies            to    donate           to her     museum              in   return          for    the loosening

           of government                 regulations




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                        Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 110 of 147
Yale   Daily    News          Korean    professor        accused      of              Yale      art                                            http//yaledailynews.contarticles/printarticle/2                     1849
                                                                           forging                    degr..




               The Korean media                   have        characterized            Byeon and Shins                      alleged        relationship        as    sex-for-favors

               Dongguk          University          has received $17.4                     million          in    Korean       government           subsidies        since   2006 and
                                                                                                                                                                                                    in
               investigators           are examining whether                         Byeon may have                      steered      some of those           grants     to the university

               return     for hiring         Shin       in    2005     the       Korea     Times            reported


               Shin     meanwhile has doggedly                             maintained her innocence                            She cited            2005     fax     transmission

                                                                                  of Yales Graduate                                                                          which    said    Shin
           purportedly from an associate                               dean                                               School       Pamela         Schirmeister

               enrolled        in the      Graduate           School        at   Yale      in   August            1996     and      graduated with             doctorate        in   2005


                  certainly          did    receive            degree       from      Yale which                  is                by the document Dongguk                     received from
                                                                                                                       proven
               Yale     in    2005          Shin told Seouls                Chosiin Ilbo daily newspaper                              in   July vowing          to    go to court     to    stop

           the     conspiracy                 regarding          her degree



           That         fax    was     believed          to    have    been       faked          too        The document              did    not    even     spell    Schirmeister

           correctly                 University          spokeswoman said


           The degree                Shin    allegedly          concocted            was flawed                   Yale    officials     said   when        the scandal         broke The
           2005         diploma         bore not the signature                       of Yale President                   Richard Levin              but    of the emeritus         professor

           Howard Lamar who served                                   as president           for       one    year      until     Levin      took office        in    1993


           Aside from reading about                             Shin in the                                                                  have    not discussed           the   matter much
                                                                                     news        the        art   history      faculty

                             themselves                                                    and                           College Master Mary                  Miller     said Shins          acts
           among                                  art    history       professor                      Saybrook
           reflect           solely    on herself             Miller       said



           People              who                documents                            their          own                              she    said
                                       forge                           damage                                    reputations


           Shins         other       degrees                   bachelors             and   masters                from    the University            of Kansas             are also     believed

           to    have         been     fabricated             Her     doctoral        thesis      was copied               largely from one               submitted to the University

           of Virginia           in    the    l980s



           Byeon and             Shin have              insisted that            they are just friends                    Byeon who            resigned        his    government        post

           after the           allegations        against           Shin    were      raised          this    summer           is   married        The two         are   now   being   held    at


           detention            center       in   Seoul pending              trial     according to the news                          agency       Agence France-Presse


           The           Associated            Press          contributed          reporting           from        Seoul




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FNSIDE                                                                                                                                                     Page      of
              JoongAng Daily




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   Dongguk board chairman                                                  to resign

                                                                                                                                                 October      17 2007




     Buddhist          monk who          chairs   Dongguk           Universitys                board of directors                  said recently he


   plans      to step   down      to   assume        ethical       responsibility                for the        schools disgraced                  reputation

   from the Shin Jeong-ah scandal

  Venerable Yeongbae                   revealed      his   plans    at         meeting with Jogye Order leaders                                    an    official


   who was       at   the meeting told the JoongAng                            Ilbo   Monday             on condition              of anonymity

       will   assume         ethical    responsibility for the                 Dongguk           University            issue Venerable

  Yeongbae        was quoted as saying                     As soon       as     Dongguk               Universitys        legal          issues   are settled

  will   resign from the chairmanship                       of the board of directors

  Venerable Yeongdam                    an aide to the chairman and also                                 Dongguk board member                              told


  Yonhap News            yesterday           that Yeongbae          does not intend                    to step        down    right       now
  Prosecutors           have said Venerable Yeongbae                            as well as former and current                             presidents          of the


  university          will   be questioned           about allegations that bribes were given                                      to    Byeon     Yang
  kyoon          former Blue House aide and Shin with                                   whom           prosecutors           said he was            having an

  affair The          university       has    been accused of giving                      professorship                to Shin in return                for


  government            subsidies through             Byeon Shin was                  fired      earlier       this    year for academic                   forgery




  The Dongguk            faculty       adopted         resolution          on Friday             calling       on Venerable Yeongbae                          to


  resign




  By   Baik     Sung-ho        JoongAng         Ilbo        Ser Myo-ja            Staff   Writer



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Yale            News        Brief Art                                              with                                                    http//yaledailynews.corwarticles/prifltarticle/22                        156
       Daily                               history    professor      charged                forgery




               Yale Daily                                  News

               Published           Thursday November                            2007




               Brief Art history professor charged with forgery of doctorate

               indicted                 by     authorities




                 South       Korean         art    history      professor          charged         with faking                doctorate       from Yale has been                        indicted          for


               forgery      by Korean             authorities        according to news                       reports


               Shin Jeong-ah                                                                                                          world   when                                     of her 2005
                                          35 was        an up-and-coming                    star    in   the        Korean      art                        the veracity

           Ph.D          from      Yale was           called     into     question          over the summer                      but    not before         she had              landed jobs as

           professor          at    the    prestigious          Dongguk           University             and       the    new   director      of     prestigious                arts    exhibition

           Yale spokeswoman                        repeated Wednesday                       that   there           is   no record      of Shins ever having attended the

           University


           Shin was indicted                   Tuesday         on    10    charges          including              forging    degrees      from Yale and                  the     University              of

           Kansas           as well       as                        hundreds              of thousands                  of dollars from the museum                       she    curated          the
                                               embezzling

           Sungkok           Art    Museum             Officials          also    indicted            former top aide to President                        Roh Moo-Hyun                       who

           allegedly         peddled           his influence         to        land   Shin    her prestigious                jobs despite          the   fact       her    degrees             being

           fabricated              Prosecutors             described their arrangement                             as      sex   for    favors       situation



           When          confronted            this   summer with                allegations          that     she faked         her degree          Shin       maintained her

           innocence              and    vowed        to    come     to    New Haven               to    prove           she attended Yale The professor                               cited         2005

           facsimile                supposedly             from Graduate               School         Associate Dean Pamela Schirmeister                                           that      said     Shin

           enrolled          in   the    Graduate           School        in                 1996       and        graduated with             doctorate             in   history        of     art   in
                                                                               August
           2005


                                   did    receive                         from        Yale which                                by the document                Dongguk             received from
                 certainly                                  degree                                            is
                                                                                                                    proven
           Yale        in   2005          Shin told Seouls                Chosun          Ilbo daily          newspaper           in   July vowing             to    go    to    court       to put       an

           end     to the         conspiracy               about     her degree


           That     fax      was apparently                    fabrication            too and         misspelled             Schirmeister                according to                  University

           spokeswoman                    The degree           Shin allegedly               forged also had                 significant    errors        and    bore the signature                        not

           of University                President Richard Levin                       but    of emeritus professor                     Howard Lamar who served                                 as acting


                                            year before
           president          for   one                             Levin        took office            in   1993


                Thomas        Kaplan




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                      yeonjiin Denyhaqes                                                                                          in 1st                 Trij




   ByKimTaejong
   Staff
                Reporter



  The      first    hearing          in     the        joint    trial    ala      degree            scamming               professor               and   her     alleged

   Thugar daddy                   was         held       Monday             with        both        defendants             denying             the    charges          laid


   against          them


  Shin      Jeong-ah who                       used             bogus          degree         from        Yale       University               and     former

  presidential             policy         planner              Byeon       Yang-kyoon were                          indicted           together          last    month



  Shin      is
                   charged          with          using        forged      graduate               degrees           from     the        Untversittes            of    Kansas

  and      Yale      to    get hired              as       professor              at    Dongguk              University           and         as    an   art director          of


  the                        Biennale
           Gwangju


  She      is    also      charged            with       embezzling                some           of an       art   museums funds                        Shin        also

  arranged           sales        of artwork               from         artists        to   government               agencies                 keeping         some      of    them

  for   herself




  Byeon          was       indicted           mainly           for   influence              peddling          on    behalf        of    his        35-year-old

  romantic           partner



  He    allegedly           pressed               Dongguk               University            officials        In   2005         to    hire     Shin with         her

  fabricated           academic                credentials                In    exchange               for    her    employment                     he   promised            to


           the school                      govemment                    subsidies              He       also peddled                  influence          to   get Shin
  help                            get

  selected          as     the    Gwangju                Biennale              director        in      July



                                         of                                                                           on                              companies               to
  Taking         advantage                     his      position           Byeon            put     pressure                targe-sized

  donate         funds       to   Sungkok                Art     Museum where                          Shin    had been                  curator         since       2005


  The      prosecution              is                                         other                      figures                                  former       Dongguk
                                          still
                                                   questioning                              related                        hduding
  University           President              Hong         11-sam          for     his       involvement              in   the        scandal         and       yen
  Yeongbae                chief     of    Dongguk                Universitys                 board       of directors                 es the        monk        allegedly

                                                                                                                                                    from
 attempted            to   cover          up Shins               fake      diplomas               in
                                                                                                       exchange            for        favors                  Byeon




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   Prosecutors            wilt    also investigate           Sungkok        Museum           director        Park   Moon-soon         who

   allegedly          embezzled           corporate     donations           with    Shin      and    provided       20   million    won     to


   her     in   order     to    seek     Byeons      influence        in   pardoning         her    jailed      husband     former

   Ssangyong             Group         chairman       Kim Suk-won


   Kim     is   also being            investigated     for   an     creating       an   alleged         slush    fund    since     prosecutors
   found        six   billion    won     while                his    home      due      to                                 Park
                                                  raiding                                    allegations against



   The     court      will     hold      second      hearing        on     Dec


   e3dward@korealimes.co.kr




http//www.koreatimes.co                                  .kr/www/news/inciude/print.aspnewsldx                                                   20071224


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                                                                                                                                                                                            zL

                                          Avery              good            step

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        The largest Buddhist temple                                          in   the affluent                 district       of     Gangnam                in    Seoul           recently


        disclosed              its      financial            statement              to    the        public            this    was        the       first       time    that          any

       temple has                  taken          this      step              number            of       smaller           temples make                     financial


        disclosures                to     their        officials             but    Bongeun Temple                            is    the     first     to    ever        publicize                its




       financial          statement



        It   has been                   tough          year          for   Buddhists                in   Korea             Disputes             among            Buddhist monks

       at        number              of   temples               received            major media                      coverage               Great damage                         was done

       to     Korean           Buddhism                  by          very         public       scandal involving                          the    appointment                      of


       professor              with        forged            academic                credentials                 to     Dongguk             University                            school

       founded            by the           Jogye             Order         of      Buddhism                       as          favor        to        powerful               government

       official          in    exchange                  for    money


       The      yen Myeongn                              chief        monk          at    Bongeun                Temple              is   quite           correct       to       say that

       money         is       at   the      root        of     the      many problems which                                 plague Buddhism                            in   Korea

       Internal          discord            within           the      Buddhist             leadership                  has stemmed from greed                                     and        the


       desire       to     attain          better           positions               he emphasized                          No one           would           dispute              his


       observation                 that     the        way        tor      Buddhist             leaders              to    regain         peoples               trust       is   to     make

       the     temples               tinances               transparent                  Such         transparency                   will       encourage               responsible


       governance                  and           at    the     same time boost                            the        followers            trust       in their          religious


       leaders



       The      financial            statement                  which             covers the period                        from       January              to    November                   of

       this    year        showed                 that       Bongeun Temple which                                         boasts           membership                       of    more           than


       200000             followers                   had            total        income        of       more than                 9.6    billion         won       and          an

       expenditure                 of     more than                  8.5     billion          won


       By     all   accounts                it    is         huge          operation            that       Bongeun                 Temple            is    running               Indeed             it




       is    astounding                 that      such               mammoth                  enterprise               never        before          made          its       bookkeeping

       public The                  temple and                  its    chief        monk         are       to     be       lauded          for   taking           the    lead           in


       making        temple operations                                more         transparent




       Having        taken           this        first      decisive              step        the     head           of    Bongeun              Temple            plans           to    make

       quarterly financial                        disclosures                 and        to    have        outside            accountants                   examine               its   books

      Already             other         Buddhist temples are planning                                             to      follow         suit




http//news           naver.com/printjorm.phpoffice_id044article_id0000..                                                                                                              20071226


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      Financial         disclosures             by religious organizations                         have     been        discussed          for         number

      of   years        Yet     very     few groups           have      actually           made       their    financial         statements                public

      The       Catholic        Churchs Archdiocese                     of         Seoul        which     oversees             215   churches

      disclosed          its    finances        to    the   public      for        the    first    time   last    August              recent          survey

      of   Protestant           churches         found       that     many          churches          provide           only    vague      financial


      information              and      only    to the      inner    circle         of    church      officials          Very    few    Protestant


      churches          make         their     financial     statements public



      As shown by the size                      of the      budgets         of      Bongeun          Temple         and        the   Archdiocese               of


      Seoul        todays        religious           groups        operations              are     nothing       like    the old      days       ot


      neighborhood               temples         and     churches             It    is    hoped      that     more       religious      groups             will


      follow      the    lead      of    Bongeun Temple                 and         the    Archdiocese             of    Seoul        Religions            aim

      to   be     the   light    of     this   world        The     light   will         only     shine   brighter        when       the   veil       of


      secrecy       on     their      finances         is lifted




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                                        Pcption Sums Up                                                                 Year of 2007


        By    Kim          Tae-jong

        Staff        Reporter



        With        the     end        of   the    year         just    around             the

        corner             how     would          you     define             the     year       of


        2007


        Professors                used       the    word          deception                      as

        keyword             to    sum up           the     year         in         recent

    survey



    The            survey         of     some       344         professors                and

    academic                  columnists             said         about          43       percent

    selected                     four-letter         Chinese                 phrase

    jagigiin                  fflltA                 to    describe                the nations

    economic                     political        and      social            situation          in


   2007              The         result      was     published                  in   the

    Professors                    Times Sunday
                                                                                                                 Former          Dongguk                  University                   assor
                                                                                                                 Shin                              shocked             the     nation
                                                                                                                          Jeong-ah
   The             phrase         literally        means           deceiving
                                                                                                                 with    her         diploma             forgery           case
   yourself                and others                which             often        appears           in
                                                                                                                 recent        survey          shows            that the year                 of

   the          analects            of      Zhu Xi              famous             Chinese
                                                                                                                 2007         can     be     defined           with         the
   Confucian                     scholar          and      Buddhist                scriptures
                                                                                                                 keyword                  deception                   as    many
                                                                                                                 similar       scandals                 arose
   The             expression               was     often         used         to    criticize
                                                                                                                                                   --         ---          Korea        Times
   people               who       deceive           others         or        mock         social


   morality                issues



   It         is    like
                            you         deceive          others         so      habitually            that
                                                                                                                 you    reach         the      point         where          you even
   deceive                 yourself with             lies          Professor                                                        from                                   university
                                                                                            Seong          Hwan-gap                           ChungAng
   said



   It
         now                      illustrates              series of scandals                         of the year               in   which              politicians
                      aptly

   businessmen                         and       other     socially            well-known              figures          were         involved               the     newspaper
  said



   The               phrase         can      be used              to    refer        to    actions         resulting           from        ruthless           desire              Professor

  Ahn Dae                   hoe        of   Sungkyunkwan                        University            said        There              were          so     many        incidents               to


  which                       can        refer     the     expression
                     you



  He         cited         the     diploma          forgery             scandal            of    former          Dongguk             University              Professor                 Shin

  Jeong-ah                    plagiarism             of    academic                  joumals          of     university          professors                  and      presidents

  and           ethic                                           well-known                                        and businessmen
                            wrongdoings                   of                                politicians




  Besides                  the expression                      18 percent                 of the surveyed                picked

                                            tht                                                                                               phrase

  sanjungsubok                                                         which         literally        means            that
                                                                                                                               you         have             long      way         to   go     but

  cannot              see        the      troubled         road         ahead              to   indicate         the nation               facing             series of troubles

  and-        problems


  But        some           15                      selected             surakseokohul                                                                          revation                of
                                   percent                                                                                       Ut meaning
  truth            after    settlement              of    problems


  When              asked          to     pick     the    most          tragic        accident             of the       year         23     percent           of the

  respondents                     picked          the     oil     leakage            in    waters          off   Taean           North             Chungcheong
  Province




http//www.koreatimes.co                                                              kr/www/news/inClude/rrnt                                                               aspnewsdx               ..   20071224


                                                                                                                                                                                                                     DONGGU K0000725
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  Untitled             Document                                                                                                  iU01X1




    On       positive     note     about    16    percent       enjoyed       figure   skating   star   Kim Yu-nas    winning
    the                the World    Grand                             the
          title   at                             Prix   Final   for          second     consecutive     years   in   row and
    the   sensational        performance          of    swimmer       Path     Tae-hwan



    e3dwardckoreatimes.co.kr




http//Wwwj.coreatjmes.co                                kr/WwW/news/include/print.aspnewstdx                                    20071224


                                                                                                                                           DONGGUK000072S
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                                                          Yonhap South Korea

   December 28 2007



   Fax on ex-art professors Yale doctorate                                                                                       degree found
   to      be genuine

         fax    from    Yale University                   used to confirm              the doctoral             degree       of Shin Jeong-ah

   former art professor                    indicted       for allegedly              usiflg fake academic                   degrees               was found           to   be

   genuine             local    university              said   on     Thursday


   Yale however                 admitted           it   had    made            mistake in sending the fax to confnn                                       Shins

   doctorate           although        it   stopped           short     of saying whether                 the error        was         intentional             or   not
  Dongguk          University              spokesman             said



   Shin an ex-professor of Dongguk                                    University          and          renowned           curator            is   on   trial    for

   allegedly       forging undergraduate                        and graduate degrees                      from      U.S      universities                 to get      her

  teaching job           at   Dongguk

  She allegedy used                   the    forged documents                   to   win     the co-directorship                      of the Gwangju

  Biennale         the    countrys               biggest       international           contemporary                 art   exhibition



  Dongguk   University said it received    letter  from                                           Yale on       Dec         17 saying that                 the fax

  which its Deputy General Counsel     Susan    Carney                                            sent    in   September               2005        to the      South

  Korean         university         to confirm            the    professors school record was                              genuine


  In    the    fax Pamela Shirmeister                          assistant        dean      of the Yale Graduate                        School confirmed
  that    Shin entered Yales                     art    history       department           in     August 1996              and        graduated           in   May
  2005 with             doctoral           degree        in    art      university           spokesman said


  In    July     however          when           suspicions           over Shins          document             forgery rocked                     South     Korea
  Yale said        the   fax was fake and                      Shin was.never              registered          as         student there



  The answer            has sparked              suspicions            that    Dongguk            University might have                           forged       the    fax or

  lied to       avoid    public        criticism          for failing          to   properly verify             its   employees                   qualifications



  Yale         explained        its   official          made the         error      in the      rush of business                 at    that       time     We       believe

  the    error    might       not     be    an    administrative               one        Jo Ui-yon chief manager of the Dongguk

  University            said



  He     said    his   school would not have                          hired     Shin    if   Yale had          correctly              said    in   2005        that    the

  doctorate       she claimed               to    have    was fake


  We      will take       all    possible          measures            in     the   U.S      to   be     compensated              for    defamation                   he

  added




                                                                                                                                                                             YALE0000033S
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  THE KOREA TIMES
                                                      Opinion
                                                                                                                                                                                           Wednesday                           April                    2009              554




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      BizlFinance

      Technology

      Arts        Living                                                                                              Dqngguk vs YaJe
     Sports

     Opinion
                                                     By Richard                Thompson
      Editorial

                        of   the   Times             Dongguk             University                    President            Oh Young-kyo                           and      other         school             officials           have              refused
     Thoughts
                                                                         Yale                                                                                                                                                           for
     Todays           Column                         to   accept                       Universitys                  $100000                 offer         together              with            public          apology                            its


                                                     administrative                   error            involving         the       false         diploma              of disgraced                     art     professor Shin
     Desk      Column
                                                     Jeong-ah
     Letter     to    the    Editor


     The Dawn                Modern
                        of
                                                      Me        rejected             the     offer         as     we        thought          we         could            regain        our honor by winning                                       the         suit
    Korea
                                                     an     official      said             The          university           said      it   would              continue             its   compensation                           suit         in       which         it



     Another          Korea                          seeks $50               million         for
                                                                                                        defamation
     Whats Your Take
     Letter     from       America                   One      of the          definitions                for    the     word        honor in my Microsoft                                  Encarta              College                 Dictionary                   is



     Random           Walk                           as     follows           TREAT               SOMETHING                        AS MONEY to accept                                           check          or other                financial

                                                     instrument     as money or as    substitute  for money and pay                                                                              it   when           it   is    due                    the
     Sean Hayes
                                                     bank      wont accept  check without      signature
     Michael         Breen

     Views      From Overseas                        In   recent        weeks                    bad       investment                climate             has         turned         into        the worst                 financial                crisis       in


     Jon Huer                                        decades             forcing                 government                   bailout         of     Fannie               Mae          Freddie               Mac and                   the    American

     Tom      Plate                                  Insurance               Group

     Living     Science
                                                     In   three        of the        last        four      fiscal
                                                                                                                        years Yale                 outdid             Harvard              in    competing                     for      endowment
     Pacific      Perspective
                                                     growth           The      Yale          endowment                   grew        to      $22.9             billion         on   June             30      the     end          of     fiscal
                                                                                                                                                                                                                                                         year
     Guest      Column
                                                     2008         Returns             have             generally         slowed             at   endowments                          reflecting                the        tumult             in    the

     Times Forum                                     markets           this                                       the       lower       return                in   FY 2008 Yales endowment                                               has
                                                                               year              Despite
     Reader            Forum                         returned           an annualized                      16.3        percent           over           the        last decade That figure                                     still     exceeds

     Cartoon                                         Harvard            where              the     average            annualized                 return             for the         same              period         is    13.8          percent

     Great     and Simple          Things
                                                     The      returns          for      both           schools         meant           that      they              outperformed                  95       percent              of the              165
     Back      Home
                                                     large     institutional                funds          that       are     measured                   by        the    Wilshire              Trust          Universe                 Comparison
     Ideas         Ideals
                                                     Service
     Jim Hoagland

     Choi     Yearn-hong                             The Yale endowment                                  has been             run      for the            last      two        decades                by David                         Swensen

     Today      in History                           Yale      said      that        its    endowment                   received              $232             million         in   gifts       and          provided                  Yale            with

                                                     $850      million         toward                     budget                    year         The endowment                                  is    not      to   be confused                          with
     Reporters           Notebook                                                                  its                      last


                                                     that    of the       Yale             Law School
     Washington              Lounge

     Community                                                                                                                                                                                                                 internal
                                                     Although           Yale         declined              to    say which               asset            classes              outperformed                     their


     Special                                         benchmark                 the         endowment                  did     say      that        it   would             adjust          its   asset           allocations                       in    the


                                                     coming           fiscal     year             It    plans       to continue               reducing                   its
                                                                                                                                                                               exposure                to    hedge              funds              which

     The Learning             Times                  had     been        as     high         as 25             percent        of     its    portfolio               two years ago and                               dropped              to        23

      Editorial       Listening                      percent          last     year
      Phone       English

      Dear     Abby                                  For                                                Swensen                                                                                  He
                                                             fiscal
                                                                         year        2009                                   is     reducing              it    to 21        percent                       is    reducing                 exposure                to




                                                                                                                                 162         315 57html                                                                                                 4/7/2009
http//www.koreatimes.co.kr/www/news/opinonI2009/O3/


                                                                                                                                                                                                                                         DONGGUK0001                            186
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       Domestic      News
                                                   domestic                equities            to    10    percent             of the       portfolio           from         11       percent           At     the     same        time
       Foreign      News
                                                   Swensen                 plans        to    increase             Yales         exposure               to     real        assets        to    29     percent           from 28
       Screen      English

       Live    English       in   Drama            percent             and        its   commitment                   to private             equity            will    increase           by           percent           to    21

      Discovery          Education                 percent             Holdings               in    fixed     income            and                                              will    remain           at                        and        15
                                                                                                                                        foreign               equities                                                percent

      Ancient       Idiom         txzi             percent             respectively
      iBT     Writing      $JZfl

      English      Writing                         The        fact    that       the     retums            were       positive           at   all       was impressive                        in    the   continuing               bear
      English      Writing        II



                                                   market
      English      Grammar
      Grasping          Vocab
                                                   Harvards                stellar       performance                  stemmed                from an investment                               mix     that       stressed
      iBT Vocab

      Korean                                       commodities                          such         as    oil     metals          and food                          over       the     U.S         stocks          which       have
                   Language
                                                   been        in    free        fall   for    months
      Junior     Writing
      Junior     Reading                          While         Harvard              invests          only           percent           of    its    endowment                     in    commodities                    the    value       of

      Junior     Reporter                         those         holdings             jumped            dramatically               over        the        period Harvards                            return          on real         assets

                                                         approximately                     half of        which          is
                                                                                                                               composed                 of    commodities                           climbed            35.8     percent

                                                  during            that        time



                                                  But       after     June          30 commodities                        markets             dropped                precipitously                   by almost 30 percent
                                                  from        their        all-time highs                        according             to    Dow          Jones-AIG                    Commodity                 Index

                                                  potentially               reversing              some endowment                           gains             Much         of    this    was due               to       substantial

                                                  fall   in    the       price       of oil         which          peaked         at    $147            per     barrel           but    has been               trading        below

                                                  $100         in    recent         days


                                                  Officials                 Harvard                                                                     which                                                                 $36.9
                                                                      at                       Management                      Company                                    invests        the        Universitys

                                                  billion       endowment                      wont divulge                   strategy             We           are        opting       for        ample         global       exposure
                                                  as     well       as                                                                                       wrote
                                                                                higher         fixed-income                   component                                    Jennifer            Pline one               of the

                                                  companys                  managing                 directors            in      Harvard                newsletter               to    donors            last      spring         Fixed-

                                                  income             securities                     especially           those         issued            by     the        United        States                                           are
                                                                                                                                                                                                          government
                                                    traditional                 refuge        for    investors            in    hard times                    Pline        specifically              pointed           to

                                                  government-backed                                inflation-protected                      bonds            as an              effectiv             investment



                                                  The       university             has        also     shifted        towards               investing                in   emerging                 markets            according           to


                                                  Harvards               latest         regulatory            filings          Such         investments                     provide           diversification                 which        can

                                                  protect           against          regional             or country-specific                      shocks



                                                  Altogether                the      Seoul Western                    District          Court found                       Shin     guilty          of faking          not just the

                                                  one     but        three       separate             academic                 degrees             If    at fault           shouldnt Yale pay                          only         third
                                                  Did                                                                 due                                                                                                involved
                                                         Dongguk                 officials          exercise                     diligence              in     contacting               the        institutions




                                                  Learning            from people                   who       are     smarter           than            us    is          good         idea        Trying        to    sue Yale           in


                                                  Connecticut                   court        may      not     be such              terrific             idea         from       the     start        Yale        mistakenly

                                                  confirmed                the    authenticity               of    Shins         Ph             Yale            President               Richard                  Levin        admitted

                                                  the    error         and        he     sent             letter    of    apology             on Yale                stationery           to       Oh


                                                  Perhaps             Swensen                 could        help      Dongguk                with        its   portfolio           management


                                                  The       writer         is
                                                                                visiting       professor             of       Mokpo          National                University               He can           be reached             at

                                                  thornp_nch@hofrnai/                               corn




                                                 Readers               Comments                                                                                                                                               Other       View




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 ArtAsiaPacific              Magazine                                                                                                                                                                                                                                       Page                 of




                                            ArtAsiPatcific
                                               TODAYS ART FROM TOMORROWS                                                                                WORLD

                 .--                      Poison Ivy                        Cleaning                     Up           Korean                    Art     Conspiracy
                                          The Point

 QtvT                                     by      Shin       young            Chung


                                         The       biggest              scandal                   in     Korea         of      2007             started           this     July           few        days        after      Shin          Jeong-Ah                    chief        curator            at

                                          in   Seoul           and          an     assistant professor                                     at                                                   was        appointed                   artistic         co-director                of    the     200t
                                                                                                                                                 Oongguk               University
                                          alongside                US-based                       Okwul          Enwezor                          Buddhist             monk             formerly on              the      board              of    Dongkuk              University                reve

                                          the      35-year-old                     Shin            did        not have                      Yale       art      history          doctorate              as she           had           been        claiming            since            2005          anc

                                          from      the           University                  of       Kansas              were            also       fraudulent                 Within         days          Shin stormed                        out     of the        country               and       he

                                          then          her       appointment                            to    the     Gwangju                    Biennale             has        been        revoked             her      professorship                        at    Dongguk                 Univert


                                          being         sued           by     both            Institutions                     Sungkok                 Art       Museum              has       yet    to      take       action           against              her          initially           inter

 Illustration    by    Jennifer   Lew     limited            to    the       art       world however                                   the       governments                      continuing               Investigation                     has        riveted        the       entire         natio

                                          mix      of     politics                sex money                         and                                                     as     far    as the        presidential                    office
                                                                                                                               religion              extending

 Return    to   columns

                                          Shin      started                 her career                   in      1997          as                                    translator           at    Kumho             Museum                 of Art           end        quickly            climbed            ti
                                                                                                                                            part-time
                                          position                by    2007                 in    addition               to     her        posts          at    Oongguk                University            and        Sungkok                  Art     Museum               she           sat on

                                          national             art      bank           and                private              art        collection             From the               start        insiders            noticed             her        below-average                        English
                                          her      name            on                                                                                                                                                                        Shin             who                                          lu
                                                                            dissertation                       databases                        yet those            around             her continued                 trusting                                        routinely               sent

                                          artists         and          professors                      and       drove                    BMW

                                         As       the investigation                               into        her    background                                                    Shins          inappropriately                       close relationship                         with        chief
                                                                                                                                                      progressed
                                          planner            Byeon Yang-Kyoon                                       was        disclosed               when            investigators                 discovered                 extensIve                email         exchanges                  bets

                                         claim          to     have          proof            that            around            the time               Shin       became             an       assistant           professor                  at    the        Buddhist-affiliated


                                         Byeon            illIcitly          earmarked                        public           funds            for        Buddhist               temple        where                 university                  board         member               serves           as

                                         possibility               that Byeon                          peddled             his        considerable                   influence            to    raise       money               for     Sungkok                 Art    Museum                 has       air



                                         revelations                   that the               museum                  collected                   over       BOO       million          won       USD 87o000an                                         exceptional             amount                 for

                                         Koreafrom                          major            national                and         private           corporations   during   Shins                                 tenure                The        prosecutors                 office          also         al



                                         circumvented                        fair       procedures                     in      using             Shin to commission      artworks                                 for     government                          buildings             resulting

                                         art      funds           in    the       national                    budget                Byeon            resigned            within         weeks         of      initial      reports                of    his     relationship                 with       SI




                                         However                  Byeons                  proximity                         President                 Itoh                               has      attracted              even           more            attention           as      2007                an
                                                                                                                     to                                           Moo-hyun                                                                                                                       Is



                                         unpopularity                       of Itohs               policiessuch                             as excessive                 financial             and    political           engagement                          with     North            Korea           an

                                         estate           price         stabilizationhas                                   dramatically                    Increased               in   the     past        year         the           Shin-Byeon                   incident            has     only
                                         and       antipathy                     Rohs       frequent  attacks                                   on     the press             throughout                 his      administration                         have         only     led       newspap
                                         make                field          day        of the scandal




                                         This      In     turn         led        to    even             greater               controversy                   when            to    public       abomination                       nude            photographs                  of Shin            alle

                                         residence                of an           undisclosed                       public            figure          ran       on     the    front       page        of          minor           daily           newspaper                   inciting          speci

                                         the      photographs                       and           the                               of the                                           as    well       as accusations                         of yellow                                         The
                                                                                                              identity                               photographer                                                                                                   journalism
                                         prognostication                          gave            credibility                  to     theories             that        Shin       used        sexual          bribery           to      further              her career                 By    Septei
                                         claimed             that           Byeon was                     only                                                              and      that the           president                       Shins
                                                                                                                           scapegoat                   for       Itoh                                                             is                     reai       paramour


                                         Shin       returned                 to     Seoul               after        two months                       in                     the Seoul            Western                Prosecutors                     Office               now
                                                                                                                                                           hiding                                                                                                      is                investig

                                         forgery of                diplomas                   and         privatizing                     funds        from          the     Sungkok            Art     Museum                    and        Byeon            on      counts            of    embez
                                         funds and                                                                             national              and                         institutions              for    Shin through                         the     abuse          of    official          aul
                                                                  soliciting                 posItions                in                                        private




                                         The       public          points              its    finger             at the             institutions                 involvedDongkuk                            University                   Sungkok                Art     Museum                 and         ti


                                         their      loose          management                               as      well       as         for                                to    outside                                and           monetary                returns            in    appointi
                                                                                                                                                 succumbing                                          pressure
                                         positions                The Gwangju                            Blennaie                   on      top of         criticism             that     visitors          declined              sharply               In    2006          has         been      basi

                                         money            as      it   is
                                                                             partially                  funded             by       the         govemment                   the         event        received            up       to          billion          wonover                        miiilor

                                         Further             side       effects              include             new                                       to     future                              fundralsing                      for    museums                 and        alternative
                                                                                                                               challenges                                         corporate
                                         government                     art       commissions                         and           negative               publicity          for       art    professionals                    in     general                Seven         days         Into       the

                                         prosecutors                    office           struggled                   with           its     biggest             case       during         the     election         year In the meantime                                          the         Korean
                                         wash       its       hands           of the               matter             and           pray         that      the       mysterious                case        of    Shin eong-Ah  dissolves                                      into       ceiebrity

                                         provoking                     crackback                       on      art    activity




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                                                                                                                                                                                                                                                                                 DONGGUK0000795
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By American Lawyer Brendon                                             Carr          in   Seoul



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Forged Credentials and Korean Employment
Law What to Do With Professor Shin
by Brendon                  Carr


The    latest         scandal dujour                    occupying              headlines               in    Korea         is    the case       of disgraced            Dongguk               University         art


professor          and        wunderkind                museum            curator              Dr and                 this      is   the crux        of the    matter            Shin       Jeong-ah
whose appointment                      to        chairmanship of the prestigious                                      2008           Gwangju         Biennale               know whatbut
apparently             it    is   something              in   the      art    world            and especially                   in   Koreas         art   world proved                  to be      the straw

that   broke          the     camels back                    leading          to her        dirty       little      secret        being       outed



You see          it    seems         Dr               Shin    lied     about         her       Yale Art History                      Ph.D and           her M.A and B.A from the
University             of Kansas             Im from                  Columbia MissourifJ                                       had       attended        KUJ would have to lie about                              it



too       If   the allegations                   against          her are true              Prof Shin               not only              did not    finish         Ph.D          but she          dropped
out    of   KU        in     her    third    year           without            degree               So she       is     high-school              graduate         and       art    curator



Her story                                                                                                   of                                                          Chosun              Ilbo    editorial
                   is       chronicled           in         zillion      articles           but as               this   writing            my    favorite      is

entitled        The          Fraud      Who Commanded                            Koreas                Art       World


So why          hasnt             she gotten           the sack        yet


Generally             speaking             an employer seeking                            to    terminate             an employee               faces     the obstacle             of Art 31              of the

Labor       Standards               Act which                requires          just cause for termination                                     of an employee                Court precedents

interpreting            this       concept            ofjust       cause have                  limited just cause                     to be    some       fault attributable                  to    the

employeesome                          misconduct                  or   breach of               trust        so serious           that      its not possible            to    continue           the

employment                  relationship               even       with       efforts       to       remediate           the      problems These                cases         have       established            that

such    fault         includes        but        is    not necessarily                 Ilimited             to   continuous               and persistence           unsatisfactory

performance                  criminal            or deliberately               tortious              acts    committed against the employer or                                         in    some        cases

against        another            employee              for                          sexual                                          an                    relationship                 with       another
                                                                  example           harassment    improper
employee andgermane                                    to    the case    of the errant                       Dr
                                                                                             Shinmaterial misrepresentation                                                                        in the

hiring         process


Material           misrepresentation                          means           that     the misrepresentation                              had some        concrete          connection              to   whether

or not the candidate                   would             have      been        hired           It    would          not for example                   be considered               material          if   an

applicant         had        said    that        she    had served              in     the      Navy         except        in the case           that     prior     Navy          service       was
essential        to     successful           performance                  in    the position                        taxi     driver        who       claimed      to    have       graduated              from

Yale could not be dismissed                                  on    the basis           of      that    statement because                          Yale degree               is   not essential            to


getting        hired        as      taxi    driver            However                most universities do require                               an    advanced          degree              in the subject

for   which            professor            is
                                                  being        hired If          Dr                 Shin     lied     about          her   degreesand                   she       is   now      attempting




http//www.korealawblog.comlentry/forgedcredentials_andkoreanemploymentjaw_w..                                                                                                                        2/19/2008




                                                                                                                                                                                               DONGGUK0001007
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Forged         Credentials                and         Korean           Employment                           Law           What         to      Do With          Professor             Shin           Ko..           Page          of




to    get    over by admitting                         her       dissertation                            was plagiarized                    something               which     is      not unusual              among
Korean         Ph.D holders                          hut that          she did                 in    fact      obtain          the    degreethen                   the    good        professor             is in    some
trouble




So     it
             appears
                               there       is    just cause                    to    terminate                   Again why hasnt                             she    gotten    the sack               yet           wrote about
this    in    the    comments                   to        related         post            on the Marmots               Hole


             Getting           hired       based on               forged             credentials                 is      just cause for termination                               under          the       Labor

             Standards              Act         but       an employer cannot                                simply             can someone                   the   minute        it   is   discovered

             there        is   substantive                just       cause           The            employer              is    also required                 to follow      its       own       regulations

             and procedures in respect                                  of disciplinary                         action                 to   follow           so-called      procedural just cause
             as well



             So they give                 her          few       weeks           to        run           around          with       OJ and        the    Clue Crew looking                           for   the     real


             forgers           then       summon                 her      before               the universitys                      disciplinary              committee            to      explain         herself

             and     to provide                 evidence             supporting                       her version               of events Then                     they   fire    her



One of        the things              were            learning            as    this            goes along                is that         Dongguk             University              like      so   many          other

employers including                            major multinationals                                      was so impressed                       by     her personality                and command                   of

               that       the university                       failed                                                                                                                   did not verilS her
English                                                                    to    vjjfr her eredentiak                                          Dongguk             apparently

Kansas undergraduate and                                       graduate          enrollment                     records and                    accepted            from Prof Shin                     faxed copy                of

Yale          diploma which                          apparently              bears              little      resemblance                   to    an actual Yale diploma                           Today         the

university            apparently                 embarrassed                    at        it
                                                                                                becoming                 known            how     incompetently               they         check           their


applicants            tried         to    convince               the public                    that      they had              in    fact      tried    to    veri        by dispatching                    letters


addressed            to    University                  of Kansas                    USA                  and    Yale            University              USA           But Dongguk                    never         followed

up when those                  letters          were allegedly                       not         answered


     have    encountered                  this             many           times            in                             here                                             lawyer               Multinationals              tend
                                                     so                                             my      career                    as an       employment
                                                      and                                       days of getting                                                                         available                          face
to    hire for English                   first                  in   the early                                                      set     up    they hire the             first                           smiling

that    can    speak English                         Thats              recipe             to       get     burned              and         lot   of them surely              do get burned



Advice        to    employers                   Verify           the      background                        of everyone                who        applies          for    job and               gather       as     much
information               including                  information                about               family          members which                        is   not generally                available          but     which

becomes            invaluable              when            fraud        is   discovered                        as   it    is    usually              family        member who                   helps with           the

escapade             at   the       commencement                           of the employment                                   relationship             when everyone                      is   happy        and helpful

Once youre suspicious                                 its       way       too        late           to    get the information                        you need


And dontfor                     the love              of       Godget                 mesmerized                         by language                 ability       and      firm        handshake



July    18 2007                 Filed          Under           That Guy               Dont                Be             Employment Law


Comments

Comments                  Policy          Comments                   to    Korea                Law         Blog are moderated                           This       means         abusive or just plain
             comments               will        be     deleted               So dont be                                          also       means        there               be       some                    from the
stupid                                                                                                       jerk          It
                                                                                                                                    may                                                           delay

time    you     post            comment                   to    the time             it    shows            up here If your comment wasnt                                         against            the    policy         it   will


show up         in         little        bit



Name        required




http//www.korealawblog.comlentry/forged                                                                   credentials                 andjorean_employmentjaww..                                                     2/19/2008




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Arts     Entertainment                      Home                                                                                                                                   Page       of2




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       Efl11D




       Leaders                of    the     Jogye        Order     of    Korean         Buddhism                    the    largest       Buddhist          order            in    South


       Korea gathered                       to   discuss         measures         to    clean           up    its    image which               has     been          tarnished         by

       the    involvement                   of   several         Buddhist        monks            in    the    fake        degree       scandal          revolving               around

       Shin        Jeongah                  at   Jogye         Temple       in    Seoul           on        October               The     scandal          that           started       as


       suspicion                over her forged                degrees      has        led   to        an    investigation          of    upperlevel                 government

       officials              and    the    Buddhist           clergy



       The     Buddhist                leaders          called     for    the     resignation                 of    the     Board        of     Directors            of     Dongguk

       University                   which    employed            Shin     Jeongah                 before           fully   confirming her               forged            academic


       credentials                   Shin    has    since        been     fired    from positions                     at   both     Dongguk             University           and       the


       Gwangju                 Biennale




       The     Buddhist                leaders          have     also    announced                that       the     Jogye    Order           will    launch              campaign

       calling          on          Buddhist       practitioners          and      organizations                     to    cancel       their        subscriptions                to   the




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Ahs     Entertainment    Home                                                                                                 Page       of




       Chosun    Ilbo    conservative        South    Korean       daily    for    printing     what     they   consider     to   be

       malignant   antiBuddhist         stories   written   out   of   religious    prejudice     and     political   motivation



       Photo   by Kim Jinsoo/The         Hankyoreh




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                              POST




      DGU           sues Yale
             Qui    lc        kwik Gju   rveon



                                                                             Yc        Jr ne    kw               crc     sunheeyoudcngguk         edu




      July    12    2007        Shin   Jeongahs        fake   doctoral      degree       was     revealed   to    the world     and     the


      famous        Shin       Scandal    diminished     the reputation           of   Dongguk       University        OGU      This      monstrous

      event        has not only        influenced   DCU       but   the   whole        Korea     Bulletin   boards and        DGUs         internet
                                                                                                                                                                        Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 138 of 147




Co                                                                                                                                                      20090511
     http//www.donggukin                    .org/news/aiticleprint.htmlidxno234631
                                                                                                                                                                                                                    IHIOIXI


web          site       were        all    about         the        Shin       Jeongahs                     scandal             One          of the      students             during            job

interview               was asked about                        the       Shin         Scandal           even            though        the job        interview               had                         to    do
                                                                                                                                                                                        nothing

with         Shin       Jeongah                    This        was        just       an     example               where         DGU      students              had     to     feel       humiliated

because                 of    the    Shins          Scandal

Due          to    this      scandal              DGU         has        lost       its    more than                                                     and
                                                                                                                   100yearstame                                  was          seriously attacked

to     its    name           value         in    Korea              Also       Yale        made two                serious        mistakes               The         first    mistake                   that
                                                                                                                                                                                                is



Yale         sent       wrong          document                    stating          that       Shin     Jeongah                 graduated from                   Yale             Yale     mistakenly

announced                    to   media           that        the fax          it    sent       on                              22nd                     fake
                                                                                                       September                             was                     made by              DGU             These

are the            reasons why                    DGU         eventually                  decided           to     sue     Yale



What              has happened                     so    far
On September                        1st     2005          Shin           Jeongah                 was        appointed as an assistant                                professor             in   DGU            on

the understanding                           that      she had              successfully                 completed                her doctoral                 degree          from        Yale            At


that      time School                      Authority               had     heard           that       the    degree         might         be         fake       and      Ahn            Hyungtaik

from         DGU             contacted Yale                   requesting                  to    confirm            Shins doctorate                   degree                  On September

22nd              Schirmeister                  who      is    the vice              dean        of    Yale        Undergraduate                   Art   School              sent       official


documents                    by     fax     to    OGU              stating          that       Shin     had        received           doctoral           degree          from           Yale         With


this     confirmation                     from        Yale          OGU         appointed               Shin        as     an   assistant            professor



On       June           4th       2007           the chief           management                       officer           Cho     Eui      yon       again        received                information


that      Shins              doctoral            degree            was fake                    Cho     sent        an email             to    Susan           Emerson              in    Yale      Art


School             to     confirm           again        whether               Shins            degree            was genuine                or    not        and            few days           later


 Emerson                replied           that    Yale         did       not        have       any     record           of Shin        receiving                doctoral                degree          from


Yale



                                                                                         The                                                             if    Shins
 The         Shins scandal                       became             public                       Korean            media        asked Yale                                    doctoral          degree

 from         Yale        was genuine                     Gila       IReinstein                replied           that    the    fax     which        had        been         delivered             to    DGU
 on     22        September                was        inauthentic                   on     the    ground            that    the       certificate             design         of    Shins        was

 totally          different          from         that        of    Yale
                                                                                                                                                                                                                                Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 139 of 147




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Also    professor              Schirmeisters                          assistant           said     Schirmeister                    had       never      signed            nor    sent

confirmation            document                      to    DGU
Few months              later Shin                   Jeongah                  was         arrested         and          the   Korean            prosecutor                also    sent


summons            to   Yale              Then         Yale           began         to     reexamine deliberately whether                                     the fax            was        genuine          or

not



Susan           Carney               from        the Yale               law       school          sent     an      email           to    the     DGU         president            Oh Young

kyo      He    wrote           that        he        unintentionally                     provided          false        information              to    DGU           If    Yale    put           more

care    in    confirming                  Shins            degree            in    the    first    place           DGUs             reputation           would            not    have        been

                               if    Yale        had
damaged             Or                                      not        asserted            falsely        that     its    September                   22nd     fax        document               was

fake     DGU       would              not       be          liar       and        Korea would               not be            seen as             protector               of Shin




This    led    OGU        to        sue Yale               for        $50     million        and     all    Donggukians                                 the university             will          recover
                                                                                                                                             hope

its   image     and        win        the        lawsuit




What We            Lost         By Yales                   Mistake


After the Shin             Scandal                    DGU          has been               severely          damaged                     First    of    all    the    competitive                  rate      of


2008     OGU        entrance                exam            is     lower          than     any other time                     because           of     our    image         falling              The     total



number        of    applicants                  decreased                    from        11991       to     10192 and                   the     average            competitive               rate      of    all




departments              fell        to     .09        from 5.82                    The      reason why                  DGU         lost     students             faith    is    that       DGU         has

 been    regarded               as        unreliable             to     most        Korean           people



                                           one        of        the    DGU                           said        The          real       problem         is   peoples             frozen           stare
  Dongdaeshinmun                                                                   presses

 at   DGU     and       its     students                   It    is         sensitive                              to    the       DGUs          future        because            the        schools
                                                                                                 problem

 development              is        closely           connected                   with     its    students              faith



                                                                                                                                                distrust                               It
 The    second          damage                  is    that       the        Korean         enterprises              get       to    have                       on         DGU               is




 serious      problem                to    the       jobhunting                    students          especially                    In   an    interview            with     Josun           Ilbo       the


                   Oh Youngkyo                             said All career                        seminars              which           were going            to    be held         in      the     last
 president
                                                                                                                                                                                                                                 Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 140 of 147




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fall    and    winter         by        some        of   Korean             large      companies                  such      as SamSung                   HanWha                   HyunOai

were      completely                 canceled            because              of    Shins           scandal              This      situation           seems           to    prove         that        the


companies                 distrust           DGU      and       its    students          after       the        Shins scandal was                      disclosed



And      also       Yales         false        brought                decisive         cause          to       OGU       failed     in    to     set   up        their      own      law

school             Establishing               law     school           in    Korea       is    related           to    universitys              long    fame           and        credibility


How      can        the                                                                                        school       that     it   cannot         believe
                            government                   spend         money on such


DGU       tried       its   best        to    specialize              in    cultural         art    for    law        school       but     in    the    end         all     failed     to



achieve            the     goals

Alumnis             supports            in    2007       have         decreased               about              billion    from           billion       to      4.9      billion


won           This        shows         how much               this        scandal ruined                  DGUs          100yearsold                    heritage             in    such

short     time



 Supports not only                       from       the alumni               but     among           faculty           members and                CEOs and                  even      among

branches             in     Buddhism               had    broken             down       in          one        short     time       Especially              the     Jogye            Order        is




afraid        of    losing        its    dignity         and     other         branch          of    buddhists             are     claiming            of the       Jogye            Orders

morality




Reponses                  About         DGU        Suing        Yale



After     DGU            submitted            the     lawsuit          to    the     Connecticut                 Oistrict         Court         foreign          newspapers                 were

reporting            this    event           and         lot    of    overseas               readers           were paying               attention          to    the       event          They

drew      diverse            responses                and       some          of    them       are negative                opinions             towards           0GW


 Here     is       one      example One                    of    the        netizens           named            Brian commented on                               one      website            about

 this    lawsuit            He       said      that      DGUs              lawsuit      is                       libel     suit      He         also   added                  number          of
                                                                                                   wacky

 Korean            forged      their         academic             career            Maybe            Korean           people       iust        needed            somebody              to   pass

 their    responsibility                     and    Yale       was            good       target           to   them
                                                                                                                                                                                                                           Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 141 of 147




http//www.donggukin.org/news/articlePrint.htmlidxfl0234631                                                                                                                                                   2009-05-11
                                                                                                                                                                                                               IJIIOIXI   5/6
There        is     Yales                                  Tom                                     Yale                               wrote                 his
                                    response                              Conroy an                                spokesman                       on               letter     to     DGU     like


following                We        have        apologized                 for    not       verifying               Shins     fake     degree              However              Yale        has no

responsibility                 on     paying          money               that     DGU        has sued                    Because         its   Shins               fault       He     argued

that   all        DGUs             loss     are      owing           to    Shins           fault    and            this   issue     has nothing                to    do with Yale

University




However                 Dongguk              University              cant                     with            Tom                    from the             first                  It   is
                                                                                 agree                                    Conroy                                    point                   because

Yale     did        not       confirm          properly              at    the     first     and        Yale         made DCU               liar     to     all     Koreans           Yales         fault


should            not    be        justified         as         petty       mistake                In    Korean            society        oncediminishedname                                  value       is




hard     to       recover                Under        Confucianism                     Korea            had         more emphasis               on                      than
                                                                                                                                                          image                  any other

countries                That        is    the    reason why                    DGU         wants             to    show     its    innocence             to      the    public       through

official          lawsuit          and      recover            its    image


DGU        said          we        can      make               good        relationship with                        Yale    after    we    settle          our losses            to    them
After that               Yale        hope         that         once        this      matter         is        resolved        with    Yales          exoneration                 Yale       and     DOU

can    have                  better        relationship                   Conroy           wrote         in    his    email



DGU           wants           to    escape           dishonor              through           the        lawsuit



Due     to        this       problem stated                    above             DGU        had         to     require       full   responsibility                from        Yale    instead        of


finding           midpoint            in    the conflict                   Therefore                president              Oh and         DOU        decided             to    sue yale even

though            president               Oh   received               sorry        letter     in    the            new    years     day    from Richard                         Levin the

                        of    Yale          DGU was               already            dishonored and                        Korean      people have                   thought          that    DGU
president

told          lie    and       protected              Shin            Moreover                the trouble                 caused      severe          financial              damage          on

 DGU


 Although            DGU            confronted                 with        false      fax     document                    expended         large          sums          of    money          Yale     did


 not   make enough                         efforts        to    establish             truth        on        Shins         doctorate       degree




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-Susan Emerson 1139                 AM       611     5/2007        Fwd RE     inquiry on dissertation



    X-Mailer         QUALCOMM                 Windows              Eudora   Version 7.0.1.0
    Date        Fri 15     Jun 2007          113901            -0400
    To      Susan Carney susan.carney@yale.edu
    From Susan Emerson susan.emerson@yaie.edu
    Subject          Fwd    RE     Inquiry           on dissertation
    Cc      David     Joselit    cdavid.joselityale.edu
    X-YalelTSMailFiIter                 Version              .2c   attachments            not   renamed
    X-Scanned-By                 IM EDefang             2.52 on 130.132.50.48


    Dear     Susan


     am     forwarding     the   email from           Professor        Christine   Mehring      which   was received   over   month    ago
    and     her reply



   All    best


    Susan Emerson




     Date       Wed     13 Jun    2007 083318                  -0400

    To      susan.emersonyale.edu     barringer   tim timothy.barringeryale.edu
             Joselit David cdavid.joselityale.edu
     From christine.mehringyaIe.edu
     Subject        Fwd    RE    Inquiry        on    dissertation

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     FYI     this   was the     first   e-mail        received       over    month ago and my response           regarding    the   Professor

    in    Korea


    Yours         Christine



         From     j1/4      jeimin2@snu.ac.kr
     To      cchristine.mehringyale.edu

         Subject     RE    Inquiry      on   dissertation

         Date Tue 10 Apr 2007 094636                           0900
     Thread-Index             Acd6o08tuiNnFKUCFzef5ZcIfTuQAZkgUg
         X-TERRACE-SPAMMARK                           NO           SR27.92
          by Terrace
         X-YaIe-Not-Spam           For more info              see    http//www.vale.edu/email/sparn/content            html

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     X-YaIe-Filter-Score                0.452

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         X-YalelTSMailFilter            Version         .2c    attachments          not   renamed
         Status

         Dear Christine Mehring




printed     for     Susan Carney susan.carneyyale.edu




                                                                                                                                       YALE00007000
          Case 3:08-cv-00441-TLM Document 257-8 Filed 08/04/11 Page 146 of 147




Susan Emerson                         1139            AM        6/1512007               Fwd RE                  lnquiryon                  dissertation



     Thank           you    ry much                      for    your reply


     Best       regards


     Jei-Min          Kim




     From christine.mehring@yale.edu    mailtochristine.mehrincitThyale.eduj

     Sent Monday April 09 2007 933 PM
     To Eji 24
     Subject Re Inquiry on dissertation


     Dear Jei-Min                    Kim


          am    afraid               have        never         heard     of     this    student       or dissertation



     Sincerely



     Chtistine           Mehring


      Dear Professor                    Christine              Mehring


      Hello

      My        name       is    Jei-Min              Kim       and      am          teaching      assistant           for the       Department             of Painting        at   the College        of Fine Arts

      Seoul          National           University              in    Korea
           professor             of my organization                         Mr                Yoon      vdio          is   also      member            of   the   Steering     Committee           of the     KCAA
      Korea           College           Art        Association                 has asked        me    to   make an               inquiry     on   his    behalf about               dissertation he recently

      acquired



      The       dissertation                is Guillaume Apollinaire
                                                 titled                                                              Catalyst           for Primitivism                For Picabia              and Duchamp
      and           written           by Jeong Mi Shin Ph.D in 2005

      According                 to   the second                        of the book we              have         it   was        presented              to the     faculty       of    the Graduate                School
                                                               page

      of    Yale University                           in      Candidacy              for     the     Degree                of    Doctor      of   Philosophy
      The       dissertation                was presented                      in    May 2005              and         approved              by   Dr        Christine          Mehring            Dr   Richard

      Murray and Dr Pamela Schirmestr


      We        searched              for    this       particular       dissertation           in   Yales online                   library       but       were unable               to   find   any       reference

      to       it


      The administrative                          office       of Yale         University          previously              provided        the    KCAA        with      list   of recent graduates

      however we were                            unable        to    find   the      above    mentioned               Ms         Shin



      Therefore                 we were            wondering             if   you could         confirm your approval                        of   this      dissertation and your               role   as   an    advisor


      for       Ms kong                Ah Shin

      As we have so                    far       been      unable      to     find      reference          to    this       dissertation          it   would      be     great help        if   you could         give    us


      some           information                 on     the    matter

      In the         Acknowledgements                               Ms   Shin expresses               gratitude             to    you    mentioning           how      your cogent         criticism        and

      unfailing            support kept                  her and her project                 afloat




printed    for       Susan Carney csusan.carney@yaIe.edu




                                                                                                                                                                                                                         YALE0000700
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Susan Emerson 1139                    AM       611   52007   Fwd    RE    Inquiry    on dissertation



                                                                                                                           you may be
          Thank                                                                                                                         able   to
                   yOu   for   your time and kind consideration     and      will   be   waiting   for   any information

          giw     us



          Sincerely



          Jei-Min      Kim

          Teaching     Assistant

          Department         of Painting   College of Fine   Arts


          Seoul    National       University



          Tel 82-2-880-7480

          Fax 82-2-888-5884




          Department         of Painting   College of Fine   Arts

          Seoul    National       University

          $an 56-1     Shillim-Dong        Gwnnak-Gu
          Seoul    Korea




    Susan       Emerson

    Registrar

    Department           of the    History     of Art

   Yale University

    203.432.2669

    http//www.yale.edu/arthistorq




printed     for    Susan       Carney csusan.carney@yale.edu




                                                                                                                                                    YALE00007002
